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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


     In re:                                                            Chapter 11

     PROSPECT MEDICAL HOLDINGS, INC., et al.1                          Case No. 25-80002 (SGJ)

                              Debtors.                                 (Jointly Administered)


           GLOBAL NOTES AND STATEMENT OF LIMITATIONS,
 METHODOLOGY, AND DISCLAIMERS REGARDING THE DEBTORS’ SCHEDULES
   OF ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

          On January 11, 2025 (the “Petition Date”), Prospect Medical Holdings, Inc. and its
 affiliated debtors in the above-captioned chapter 11 cases (each a “Debtor” and, collectively, the
 “Debtors”) commenced voluntary cases (the “Chapter 11 Cases”) under chapter 11 of title 11,
 United States Code, §§ 101 et seq. (the “Bankruptcy Code”) in the United States Bankruptcy Court
 for the Northern District of Texas (the “Court”).

        The Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial
 Affairs (the “Statements”) were prepared pursuant to section 521 of the Bankruptcy Code and
 Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) by
 management of the Debtors with unaudited information available as of the Petition Date.

        These Global Notes and Statement of Limitations, Methodology, and Disclaimers
 Regarding the Debtors’ Schedules and Statements of Financial Affairs (the “Global Notes”) are
 incorporated by reference in, and comprise an integral part of, each Debtor’s respective Schedules
 and Statements, and should be referred to and considered in connection with any review of the
 Schedules and Statements.

         In preparing the Schedules and Statements, the Debtors relied on financial data derived
 from their books and records that was available at the time of such preparation. The Debtors have
 historically prepared consolidated monthly financial statements and have not historically prepared
 stand-alone monthly financial statements. Unlike the consolidated financial statements, the
 Schedules and Statements generally reflect the assets and liabilities of each Debtor on a
 nonconsolidated basis. Accordingly, the amounts listed in the Schedules and Statements will likely
 differ, at times materially, from the consolidated financial reports prepared historically by the
 Debtors. The Debtors, and their agents, attorneys, and advisors do not guarantee or warrant the
 accuracy or completeness of the data that is provided herein, and shall not be liable for any loss or

 1    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://omniagentsolutions.com/Prospect. The Debtors’ mailing address is 3824
      Hughes Ave., Culver City, CA 90232.
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 injury arising out of or caused in whole or in part by the acts, errors, or omissions, whether
 negligent or otherwise, in procuring, compiling, collecting, interpreting, reporting,
 communicating, or delivering the information contained herein. While reasonable efforts have
 been made to provide accurate and complete information herein, inadvertent errors or omissions
 may exist. The Debtors reserve their rights to amend and supplement the Schedules and Statements
 as may be necessary or appropriate. For the avoidance of doubt, the Debtors and their agents,
 attorneys, and advisors expressly do not undertake any obligation to update, modify, revise, or re-
 categorize the information provided herein, or to notify any third party should the information be
 updated, modified, revised, or re-categorized, except as required by applicable law. In no event
 shall the Debtors, or their agents, attorneys, and advisors, be liable to any third party for any direct,
 indirect, incidental, consequential, or special damages (including, but not limited to, damages
 arising from the disallowance of a potential claim against the Debtors or damages to business
 reputation, lost business, or lost profits), whether foreseeable or not and however caused, even if
 the Debtors or their agents, attorneys, or advisors are advised of the possibility of such damages.

         Given, among other things, the uncertainty surrounding the valuation and nature of certain
 assets and liabilities, to the extent that a Debtor shows more assets than liabilities, this is not an
 admission that such Debtor was solvent on the Petition Date or at any time prior to the Petition
 Date. Likewise, to the extent that a Debtor shows more liabilities than assets, it is not an admission
 that such Debtor was insolvent on the Petition Date or any time prior to the Petition Date.

         Paul Rundell has signed each set of the Schedules and Statements. Mr. Rundell serves as
 the Chief Restructuring Officer (“CRO”) of the Debtors, and he is an authorized signatory for each
 of the Debtors in these Chapter 11 Cases. In reviewing and signing the Schedules and Statements,
 Mr. Rundell has necessarily relied upon the efforts, statements, advice, and representations of the
 Debtors and their advisors. Mr. Rundell has not (and could not have) personally verified the
 accuracy of each such statement and representation, including statements and representations
 concerning amounts owed to creditors, classification of such amounts, and creditor addresses.

                            Global Notes and Overview of Methodology

         1.      Description of the Cases. Commencing on January 11, 2025 (the “Petition Date”),
 each of the Debtors filed with this Court voluntary cases under chapter 11 of title 11 of the
 Bankruptcy Code. The Debtors are authorized to continue to operate their business and manage
 their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy
 code. On January 29, 2025, the United States Trustee for the Northern District of Texas (the “U.S.
 Trustee”) appointed an official committee of unsecured creditors [Docket No. 295]
 (the “Committee”). On January 30, 2025, the U.S. Trustee appointed a patient care ombudsman
 [Docket No. 325]. No trustee or examiner has been appointed in these Chapter 11 Cases.

        The Debtors continue to operate their businesses and manage their properties as debtors
 and debtors in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The
 Chapter 11 Cases have been consolidated for procedural purposes only and are being jointly
 administered under case number 25-80002 (SGJ).

         2.     Reservations and Limitations. Reasonable efforts have been made to prepare and
 file complete and accurate Schedules and Statements; however, as noted above, inadvertent errors



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 or omissions may exist. The Debtors reserve all rights to amend and supplement the Schedules
 and Statements as may be necessary or appropriate. Nothing contained in the Schedules and
 Statements or these Global Notes constitutes a waiver of any of the Debtors’ rights or an admission
 of any kind with respect to these Chapter 11 Cases, including, but not limited to, any rights or
 claims of the Debtors against any third party or issues involving substantive consolidation,
 equitable subordination, or defenses or causes of action arising under the provisions of chapter 5
 of the Bankruptcy Code or any other relevant applicable bankruptcy or non-bankruptcy laws to
 recover assets or avoid transfers. Any specific reservation of rights contained elsewhere in the
 Global Notes does not limit in any respect the general reservation of rights contained in this
 paragraph.

        (a)     No Admission. Nothing contained in the Schedules and Statements is intended or
                should be construed as an admission or stipulation of the validity of any claim
                against the Debtors, any assertion made therein or herein, or a waiver of the
                Debtors’ rights to dispute any claim or assert any cause of action or defense against
                any party.

        (b)     Recharacterization. Notwithstanding that the Debtors have made reasonable
                efforts to correctly characterize, classify, categorize, or designate certain claims,
                assets, executory contracts, unexpired leases, and other items reported in the
                Schedules and Statements, the Debtors nonetheless may have improperly
                characterized, classified, categorized, or designated certain items. The Debtors
                reserve all rights to recharacterize, reclassify, recategorize, or redesignate items
                reported in the Schedules and Statements at a later time as is necessary and
                appropriate, including, without limitation, whether contracts or leases listed herein
                were deemed executory or unexpired as of the Petition Date and remain executory
                and unexpired post-petition. Disclosure of information in one or more Schedules,
                Statements, or one or more exhibits or attachments thereto, even if incorrectly
                placed, shall be deemed to be disclosed in the correct Schedules, Statements,
                exhibits, or attachments.

        (c)     Classifications. Listing (i) a claim on Schedule D as “secured,” (ii) a claim on
                Schedule E/F as “priority” or “unsecured,” or (iii) a contract on Schedule G as
                “executory” or “unexpired” does not constitute an admission by the Debtors of the
                legal rights of the claimant or contract counterparty, or a waiver of the Debtors’
                rights to recharacterize or reclassify such claim or contract or to setoff such claim.

        (d)     Claims Description. Any failure to designate a claim on the Debtors’ Schedules
                and Statements as “disputed,” “contingent,” or “unliquidated” does not constitute
                an admission by the Debtors that such amount is not “disputed,” “contingent,” or
                “unliquidated.” Each Debtor reserves all rights to dispute, or assert offsets or
                defenses to, any claim reflected on its respective Schedules and Statements or
                described in these Global Notes on any grounds, including, without limitation,
                liability, or classification, or to otherwise subsequently designate such claims as
                “disputed,” “contingent,” or “unliquidated” or object to the extent, validity,
                enforceability, or priority of any claim. Moreover, listing a claim does not
                constitute an admission of liability by the Debtors against which the claim is listed


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             or by any of the Debtors. The Debtors reserve all rights to amend their Schedules
             and Statements and Global Notes as necessary and appropriate, including, but not
             limited to, with respect to claim description and designation.

       (e)   Estimates and Assumptions. The preparation of the Schedules and Statements
             required the Debtors to make reasonable estimates and assumptions with respect to
             the reported amounts of assets and liabilities, the amount of contingent assets and
             contingent liabilities on the Schedules and Statements, and the reported amounts of
             revenues and expenses during the applicable reporting periods. Actual results could
             differ from such estimates.

       (f)   Causes of Action. Despite reasonable efforts, the Debtors may not have identified
             all current and potential causes of action the Debtors may have against third parties
             in their respective Schedules and Statements, including, without limitation,
             avoidance actions arising under chapter 5 of the Bankruptcy Code and actions under
             other relevant bankruptcy and non-bankruptcy laws to recover assets. The Debtors
             reserve all rights with respect to any causes of action, and nothing in these Global
             Notes or the Schedules and Statements should be construed as a waiver of any such
             causes of action.

       (g)   Intellectual Property Rights. Exclusion of certain intellectual property from the
             Schedules and Statements should not be construed as an admission that such
             intellectual property rights have been abandoned, have been terminated or
             otherwise expired by their terms, or have been assigned or otherwise transferred
             pursuant to a sale, acquisition, or other transaction. Conversely, inclusion of certain
             intellectual property rights in the Schedules and Statements should not be construed
             as an admission that such intellectual property rights have not been abandoned,
             have not been terminated or otherwise expired by their terms, or have not been
             assigned or otherwise transferred pursuant to a sale, acquisition, or other
             transaction. The Debtors have made every effort to attribute intellectual property
             to the rightful Debtor owner, however, in some instances intellectual property
             owned by one Debtor may, in fact be owned by another. Accordingly, the Debtors
             reserve all of their rights with respect to the legal status of any and all such
             intellectual property rights.

       (h)   Executory Contracts and Unexpired Leases. Although the Debtors made
             diligent efforts to identify contracts and unexpired leases as executory within the
             scope of section 365 of the Bankruptcy Code and to attribute an executory contract
             to its rightful Debtors, in certain instances, the Debtors may have inadvertently
             failed to do so due to the complexity and size of the Debtors’ businesses.
             Accordingly, the Debtors reserve all of their rights with respect to the inclusion or
             exclusion of executory contracts and unexpired leases, as well as the named parties
             to any and all executory contracts and unexpired leases, including the right to
             amend Schedule G at any time during the pendency of these Chapter 11 Cases.

       (i)   Insiders. In the circumstance where the Schedules and Statements require
             information regarding “insiders,” the Debtors have included information with


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             respect to certain individuals who served as officers and directors, as the case may
             be, during the relevant time periods. Such individuals may no longer serve in such
             capacities. As to each Debtor, an individual or entity is designated as an “insider”
             for the purposes of the Schedules and Statements if such individual or entity, based
             on the totality of the circumstances, may have a controlling interest in, or may
             exercise sufficient authority over, the Debtor so as to direct corporate policy and
             the disposition of corporate assets.

             The listing or omission of a party as an insider for purposes of the Schedules and
             Statements is not intended to be, nor should it be, construed as an admission of any
             fact, right, claim, or defense and all such rights, claims, and defenses are hereby
             expressly reserved. Information regarding the individuals listed as insiders in the
             Schedules and Statements has been included for informational purposes only and
             such information may not be used for: (i) the purposes of determining (A) control
             of the Debtors; (B) the extent to which any individual exercised management
             responsibilities or functions; (C) corporate decision-making authority over the
             Debtors; or (D) whether such individual could successfully argue that he or she is
             not an insider under applicable law, including the Bankruptcy Code and federal
             securities laws, or with respect to any theories of liability or (ii) any other purpose.

       (j)   Umbrella or Master Agreements. Contracts listed in the Schedules and
             Statements may be umbrella or master agreements that cover relationships with
             some or all of the Debtors. Where relevant, such agreements may have been listed
             in the Schedules and Statements of only the Debtor(s) that signed the original
             umbrella or master agreement. Other Debtors, however, may be liable together
             with such Debtor(s) on account of such agreements. The Debtors reserve all rights
             to amend the Schedules and Statements to reflect changes regarding the liability of
             the Debtors with respect to such agreements, if appropriate. Additionally, by listing
             an umbrella or master agreement in these Schedules and Statements, the Debtors
             make no representation as to the severability of such agreements and their related
             contracts and leases, including any subleases, and the Debtors reserve any and all
             rights with respect to any arguments or claims it may have in regard to the
             severability of such agreements.

       (k)   Court Orders. Pursuant to certain orders of the Bankruptcy Court entered in these
             chapter 11 cases (the “First Day Orders”), the Debtors were authorized (but not
             directed) to pay, among other things, certain prepetition claims of employees,
             potential lien holders, certain vendors and taxing authorities. Accordingly, these
             liabilities may have been or may be satisfied in accordance with such First Day
             Orders and therefore, generally are not listed in the Schedules and Statements.
             Regardless of whether such claims are listed in the Schedules and Statements, to
             the extent such claims are paid pursuant to any order of the Bankruptcy Court
             (including the First Day Orders), the Debtors reserve all rights to amend,
             supplement, or otherwise modify the Schedules and Statements as is necessary
             or appropriate.




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       (l)    Other Paid Claims. To the extent the Debtors have reached any postpetition
              settlement with a vendor or other creditor, the terms of such settlement will prevail,
              supersede amounts listed in the Schedules and Statements, and shall be enforceable
              by all parties, subject to Bankruptcy Court approval. To the extent the Debtors pay
              any of the claims listed in the Schedules and Statements pursuant to any orders
              entered by the Bankruptcy Court, the Debtors reserve all rights to amend and
              supplement the Schedules and Statements and take other action, such as filing
              claims objections, as is necessary and appropriate to avoid overpayment or
              duplicate payment for such liabilities.

       (m)    Professional Corporations. In the ordinary course of their business, the Debtors
              record on their books certain bank accounts and liabilities associated with non-
              debtor professional corporations, which the Debtors provide certain managed
              services to. The Debtors have attempted to exclude assets that do not belong to the
              Debtors and liabilities for which the Debtors are not actually liable from the
              Schedules and Statements. To the extent that something was inadvertently missed,
              the Debtors reserve their rights to amend the Schedules as deemed necessary.

 3.    Description of Cases and “As Of” Information Date. Beginning on January 11, 2025,
       or the “Petition Date,” each of the Debtors filed a voluntary petition for relief under
       chapter 11 of the Bankruptcy Code in the Court. The Debtors continue to operate their
       business. The information provided herein, except as otherwise noted, is reported as of the
       Petition Date of each respective Debtor, as appropriate.

 4.    Confidential or Sensitive Information. There may be instances in which certain
       information in the Schedules and Statements has been intentionally redacted due to, among
       other things, concerns for the privacy of an individual or concerns about the confidential
       or commercially sensitive nature of certain information. Any alterations or redactions in
       the Schedules and Statements are limited only to what the Debtors believe is necessary to
       protect the Debtors or the applicable third-party, and the Debtors have provided interested
       parties with sufficient information to discern the nature of the listing. As set forth in the
       Debtors’ Emergency Motion for Entry of an Order (I) Authorizing The Debtors To File
       (A) a Consolidated Creditor Matrix and (B) a Consolidated List of the 30 Largest
       Unsecured Creditors; (II) Authorizing (A) the Debtors to Redact Certain Personally
       Identifiable Information, and (B) the Implementation of Procedures to Protect Confidential
       Patient Information; (III) Establishing a Complex Service List; (IV) Approving Form and
       Manner of Notice of Commencement; and (V) Granting Related Relief [Docket No. 3]
       (the “Creditor Matrix Motion”), the Debtors may redact personally identifiable information
       such as names and addresses of current and former employees, contract workers, vendors,
       suppliers, equity holders and other individuals.

 5.    Methodology.

       (a)    Basis of Presentation. The Schedules and Statements do not purport to represent
              financial statements prepared in accordance with Generally Accepted Accounting
              Principles in the United States (“GAAP”) nor are they intended to be fully
              reconciled to the financial statements of each Debtor. The Schedules and


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             Statements contain unaudited information that is subject to further review and
             potential adjustment. The Schedules and Statements reflect the Debtors’
             reasonable efforts to report the assets and liabilities of each Debtor on an
             unconsolidated basis.

       (b)   Duplication. Certain of the Debtors’ assets, liabilities, and prepetition payments
             may properly be disclosed in multiple parts of the Statements and Schedules. To
             the extent these disclosures would be duplicative, the Debtors have endeavored to
             only list such assets, liabilities, and prepetition payments once.

       (c)   Net Book Value. In certain instances, current market valuations for individual
             items of property and other assets are neither maintained by, nor readily available
             to the Debtors. Accordingly, unless otherwise indicated, the Debtors’ Schedules
             and Statements reflect net book values as of December 31, 2024. Market values
             may vary, in some instances, materially, from net book values. The Debtors believe
             that it would be an inefficient use of estate assets for the Debtors to obtain the
             current market values of their property. Accordingly, the Debtors have indicated
             in the Schedules and Statements that the market values of certain assets and
             liabilities are undetermined. Also, assets that have been fully depreciated or that
             were expensed for accounting purposes either do not appear in these Schedules and
             Statements, or are listed with a zero-dollar value, as such assets have no net book
             value. The omission of an asset from the Schedules and Statements does not
             constitute a representation regarding the ownership of such asset, and any such
             omission does not constitute a waiver of any rights of the Debtors with respect to
             such asset.

       (d)   Contingent Claim. A claim that is dependent on the realization of some uncertain
             future event is a “contingent” claim.

       (e)   Undetermined Amounts. The description of an amount as “unknown,” “TBD,”
             or “undetermined” is not intended to reflect upon the materiality of such amount.

       (f)   Unliquidated Amounts. Amounts that could not be fairly quantified by the
             Debtors are scheduled as “unliquidated.”

       (g)   Disputed Claim. A claim with respect to which the applicable Debtor and the
             claimant disagree as to whether the amount owed, whether any amount is owed, the
             priority of the claim, or otherwise is “disputed.”

       (h)   Totals. All totals that are included in the Schedules and Statements represent totals
             of all known amounts. To the extent there are unknown or undetermined amounts,
             the actual total may be different from the listed total.

       (i)   Paid Claims. The Bankruptcy Court has authorized (but not directed) the Debtors
             to pay, in their discretion, certain outstanding Claims on a postpetition
             basis. Pursuant to such orders, certain prepetition liabilities that the Debtors have
             paid postpetition or those which the Debtors plan to pay via this authorization may
             not be listed in the Schedules and Statements.


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       (j)   Liens. The inventories, property, and equipment listed in the Schedules and
             Statements are presented without consideration of any liens.

       (k)   Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

       (l)   Liabilities. The Debtors have sought to allocate liabilities between the prepetition
             and postpetition periods based on the information and research conducted in
             connection with the preparation of the Schedules and Statements. As additional
             information becomes available and further research is conducted, the allocation of
             liabilities between the prepetition and postpetition periods may change. The
             Debtors reserve the right to amend the Schedules and Statements and these Global
             Notes as they deem appropriate in this and all other regards.

       (m)   Excluded Assets and Liabilities. The Debtors have excluded certain categories of
             assets and liabilities from the Schedules and Statements, including, but not limited
             to: certain deferred charges, investments in subsidiaries, reserves recorded only for
             purposes of complying with the requirements of GAAP; deferred tax assets;
             deferred tax liabilities; and other intangibles; deferred revenue accounts; and
             certain accrued liabilities, including salaries and employee benefits. The Debtors
             have also excluded rejection damage claims of counterparties to executory
             contracts and unexpired leases that may or may not be rejected, to the extent such
             damage claims exist. Other immaterial assets and liabilities may also have been
             excluded.

       (n)   Intercompany Accounts. The Debtors maintain intercompany accounts in their
             books and records that record transfers of cash and other intercompany transactions
             among Prospect subsidiaries and affiliates. Although efforts have been made to
             attribute these transactions to the correct legal entity, the Debtors reserve the right
             to modify or amend their Schedules and Statements to attribute such transactions
             to a different legal entity, as is necessary or appropriate. For additional information
             regarding the Debtors’ intercompany transactions and related cash management
             protocols, see Debtors’ Emergency Motion for Entry of An Order (I) Authorizing
             the Debtors to (A) Continue Their Existing Cash Management System and Maintain
             Their Existing Bank Accounts, (B) Continue to Perform Intercompany
             Transactions, and (C) Maintaining Existing Business Forms and Books and
             Records; and (II) Granting Related Relief [Docket No. 21].

             Receivables and payables among the Debtors in these cases are reported in the
             Schedules based upon the net intercompany balances. The listing by the Debtors
             of any account between a Debtor and another Debtor or a non-Debtor affiliate is a
             statement of what appears in a particular Debtor’s books and records is the result
             of consolidating the Debtors’ financial statements and does not reflect any
             admission or conclusion of the Debtors regarding the allowance, classification,
             characterization, validity, or priority of such account. The Debtors take no position
             in these Schedules and Statements as to whether such accounts would be allowed
             as a claim, an interest, or not allowed at all. The Debtors and all parties-in-interest
             reserve all rights with respect to such accounts.


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       (o)    Credits and Adjustments. The claims of individual creditors for, among other
              things, goods, products, services, or taxes are listed as the amounts entered on the
              Debtors’ books and records and may either (i) not reflect credits, allowances, or
              other adjustments due from such creditors to the Debtors or (ii) be net of accrued
              credits, allowances, or other adjustments that are actually owed by a creditor to the
              Debtors on a postpetition basis on account of such credits, allowances, or other
              adjustments earned from prepetition payments and critical vendor payments, if
              applicable. The Debtors reserve all of their rights with regard to such credits,
              allowances, or other adjustments, including, but not limited to, the right to modify
              the Schedules, assert claims objections and/or setoffs with respect to the same, or
              apply such allowances in the ordinary course of business on a postpetition basis.

       (p)    Setoffs. The Debtors may periodically incur setoffs and net payments in the
              ordinary course of business. Such setoffs and nettings may occur due to a variety
              of transactions or disputes. Although such setoffs and other similar rights may have
              been accounted for when scheduling certain amounts, these ordinary course setoffs
              are not independently accounted for, and as such, are or may be excluded from the
              Debtors’ Schedules and Statements. The Debtors reserve all rights to challenge any
              setoff and/or recoupment rights that may be asserted.

 6.    Global Notes Control. These Global Notes pertain to and comprise an integral part of
       each of the Schedules and Statements and should be referenced in connection with any
       review thereof. In the event that the Schedules and Statements conflict with these Global
       Notes, these Global Notes shall control.

 7.    Specific Schedules Disclosures.

       (a)    Schedules Summary. Except as otherwise noted, the asset totals represent
              amounts as of the December 31, 2024 and liability information provided herein
              represents the Debtors’ liabilities as of the Petition Date.

       (b)    Schedule A/B, Part 1 – Bank Accounts; Amounts reported in schedule AB
              question 3 reflect actual account balances as of the Petition Date and may differ
              from general ledger books and record values.

       (c)    Schedule A/B, Part 3 – Accounts Receivable; The accounts receivable is reflected
              as of December 31, 2024.

       (d)    Schedule A/B, Part 4 – Investments; Non-Publicly Traded Stock and Interests
              in Incorporated and Unincorporated Businesses, including any Interest in an
              LLC, Partnership, or Joint Venture. Prospect Medical Holdings, Inc. ownership
              interests in subsidiaries have been listed in Schedule A/B, Part 4, as undetermined
              amounts on account of the fact that the fair market value of such ownership is
              dependent on numerous variables and factors, and may differ significantly from
              their net book value.

       (e)    Schedule A/B, Part 7 – Office furniture, fixtures, and equipment; and
              collectibles. The Debtors have used book values as of December 31, 2024 for


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             reporting office furniture and equipment. There have been no valuations on any of
             such assets. The Debtors reserve all of their rights to re-categorize and/or re-
             characterize such asset holdings to the extent the Debtors determine that such
             holdings were improperly listed.

       (f)   Schedule A/B, Part 10 – Intangibles and Intellectual Property. The value of the
             Debtors’ intangible assets is listed as undetermined. The Debtors are not able to
             provide a schedule with values specific to its intellectual property (including but
             not limited to, patents, trademarks, internet domains, and licenses).

             The Debtors do not ascribe value to any customer list they may maintain, therefore,
             no response has been listed in schedule AB question 63.

       (g)   Schedule D – Creditors Who Have Claims Secured by Property. The Debtors
             have made reasonable efforts to report all secured claims against the Debtors on
             Schedule D based on the Debtors’ books and records as of the Petition Date.
             However, the actual value of claims against the Debtors may vary significantly
             from the represented liabilities. Parties in interest should not accept that the listed
             liabilities necessarily reflect the correct amount of any secured creditor’s allowed
             claims or the correct amount of all secured claims. Similarly, parties in interest
             should not anticipate that recoveries in these cases will reflect the relationship of
             the aggregate asset values and aggregate liabilities set forth in the Schedules.
             Parties in interest should consult their own professionals and advisors with respect
             to pursuing a claim. Although the Debtors and their professionals have generated
             financial information and data the Debtors believe to be reasonable, actual
             liabilities (and assets) may deviate significantly from the Schedules due to certain
             events that occur throughout these Chapter 11 Cases.

             Except as specifically stated herein, lessors of real property and equipment, utility
             companies, and any other parties which may hold security deposits or other security
             interests, have not been listed on Schedule D. The Debtors have also not listed on
             Schedule D any parties whose claims may be secured through rights of setoff,
             deposits, or advance payments.

             Although the Debtors may have scheduled claims of various creditors as secured
             claims, the Debtors reserve all rights to dispute or challenge the secured nature of
             any creditor’s claim or the characterization of the structure of any transaction or
             any document or instrument (including, without limitation, any intercompany
             agreement) related to such creditor’s claim (except as otherwise agreed to or stated
             pursuant to a stipulation, agreed order, or general order entered by the Bankruptcy
             Court that is or becomes final). The Debtors have not included on Schedule D the
             claims of any parties that may believe their claims are secured through setoff rights
             or inchoate statutory lien rights.

             The descriptions provided on Schedule D are intended only as a summary.
             Reference to the applicable loan agreements and related documents is necessary for
             a complete description of the collateral and the nature, extent, and priority of any



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             liens. Nothing in these Global Notes or in the Schedules and Statements shall be
             deemed a modification, interpretation, or an acknowledgment of the terms of such
             agreements or related documents.

       (h)   Schedule E/F – Creditors Who Have Unsecured Claims.

             The Debtors have made reasonable efforts to report all priority and general
             unsecured claims against the Debtors on Schedule E/F based on the Debtors’ books
             and records as of the Petition Date. However, the actual value of claims against the
             Debtors may vary significantly from the represented liabilities. Certain claims on
             E/F may have been satisfied post-petition by the Debtors (including employee
             wages in the ordinary course) or third parties. Furthermore, accrued interest for
             some claims may not have been possible to determine. Parties in interest should
             not accept that the listed liabilities necessarily reflect the correct amount of any
             unsecured creditor’s allowed claims or the correct amount of all unsecured claims.
             Similarly, parties in interest should not anticipate that recoveries in these cases will
             reflect the relationship of the aggregate asset values and aggregate liabilities set
             forth in the Schedules. Parties in interest should consult their own professionals
             and advisors with respect to pursuing a claim. Although the Debtors and their
             professionals have generated financial information and data the Debtors believe to
             be reasonable, actual liabilities (and assets) may deviate significantly from the
             Schedules due to certain events that occur throughout these Chapter 11 Cases.

             Within Schedule E/F, certain Debtors carry balances related to loans under the
             Property Assessed Clean Energy (“PACE”) programs. The Debtors undertook such
             loans to finance certain improvements/constructions that are qualified under such
             programs.

             The claims listed on Schedule E/F arose or were incurred on various dates. In
             certain instances, the date on which a claim arose may be unknown or subject to
             dispute. Although reasonable efforts have been made to determine the date upon
             which claims listed in Schedule E/F were incurred or arose, updating that date for
             each claim in Schedule E/F would be unduly burdensome and cost-prohibitive and,
             therefore, the Debtors have not listed a date for each claim listed on Schedule E/F.

             In the ordinary course of business, the Debtors generally receive invoices for goods
             and services after the delivery of such goods or services. As of the filing of the
             Schedules and Statements, the Debtors may not have received all invoices for
             payables, expenses, or liabilities that may have accrued before the Petition Date.
             Furthermore, payments to vendors and lienholders made subsequent to the filing of
             these Schedules will not be reflected in these Schedules. The Debtors reserve the
             right, but are not required, to amend Schedules E/F if they receive such invoices
             and/or make such payments. The claims of individual creditors are generally listed
             at the amounts recorded on the Debtors’ books and records and may not reflect all




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             credits or allowances due from the creditor. The Debtors reserve all of their rights
             concerning credits or allowances.

             Part 1 - Creditors with Priority Unsecured Claims. The Debtors included certain
             claims owing to various taxing authorities to which the Debtors may be liable.
             Priority unsecured tax claims are listed as contingent or unliquidated since they
             may have been paid through first day relief. Moreover, the inclusion of any
             amounts owed to taxing authorities does not constitute an admission by the Debtors
             of such liability.

             The Debtors reserve the right to assert that any claim listed on Schedule E/F does
             not constitute a priority claim under the Bankruptcy Code.

             Part 2 - Creditors with Nonpriority Unsecured Claims. The Debtors have used
             reasonable efforts to report all general unsecured claims against the Debtors in
             Schedule E/F, Part 2, based upon the Debtors’ books and records as of the Petition
             Date. The Debtors made a reasonable attempt to set forth their unsecured
             obligations, although the actual amount of claims against the Debtors may vary
             from those liabilities represented on Schedule E/F, Part 2. The listed liabilities,
             which have been listed on a gross accounts payable basis, may not reflect the correct
             amount of any unsecured creditor’s allowed claims or the correct amount of all
             unsecured claims.

             Schedule E/F, Part 2, reflects certain prepetition amounts owing to counterparties
             to executory contracts and unexpired leases. Such prepetition amounts, however,
             may be paid in connection with the assumption or assumption and assignment of
             an executory contract or unexpired lease. Prepetition amounts that may be paid in
             accordance with court orders, are marked as contingent. In addition, Schedule E/F,
             Part 2, does not include claims that may arise in connection with the rejection of
             any executory contracts and unexpired leases, if any, that may be or have been
             rejected.

             Schedule E/F, Part 2, describes a promissory note owed by Debtor Prospect
             Medical Holdings, Inc. to Medline Industries, LP in the principal amount of
             approximately $9.7 million. The amounts reflected on Schedule E/F, Part 2 in
             relation to this note do not include any interest accrued and unpaid as of the Petition
             Date.

       (i)   As of the Petition Date, the Debtors estimate they have approximately 1.1 million
             current and former patients (collectively, the “Patients”). To the best of the
             Debtors’ knowledge and belief, other than refunds, the Debtors’ Patients do not
             hold claims against the Debtors and have not been listed individually in the
             Schedules. However, to the extent any current or former patient is a known creditor
             of the Debtors (e.g., medical malpractice claimant, slip and fall claimant, etc.), the
             Debtors have endeavored to include such parties in the Schedules.




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       (j)   Schedule G – Executory Contracts and Unexpired Leases. The Debtors hereby
             reserve all rights to dispute the validity, status, or enforceability of any contracts,
             agreements or leases set forth in Schedule G and to amend or supplement
             Schedule G as necessary. Additionally, the placing of a contract or lease onto
             Schedule G shall not be deemed an admission that such contract is an executory
             contract or unexpired lease, or that it is necessarily a binding, valid, and enforceable
             contract. Any and all of the Debtors’ rights, claims and causes of action with
             respect to the contracts and agreements listed on Schedule G are hereby reserved
             and preserved. In addition, the Debtors are continuing their review of all relevant
             documents and expressly reserve their right to amend all Schedules at a later time
             as necessary and/or to challenge the classification of any agreement as an executory
             contract or unexpired lease in any appropriate filing.

             The names of employees and consultants and other individuals have been redacted
             for privacy purposes.

             Certain information, such as the contact information or addresses of the
             counterparty, may not be included where such information could not be obtained
             using the Debtors’ reasonable efforts. Listing a contract or agreement on
             Schedule G does not constitute an admission that such contract or agreement is an
             executory contract or unexpired lease or that such contract or agreement was in
             effect on the Petition Date or is valid or enforceable. Expired contracts and leases
             may have also been inadvertently included. The Debtors hereby reserve all of their
             rights to dispute the validity, status, or enforceability of any contracts, agreements,
             or leases set forth in Schedule G and to amend or supplement such Schedule as
             necessary.

             Certain of the leases and contracts listed on Schedule G may contain renewal
             options, guarantees of payment, indemnifications, options to purchase, rights of
             first refusal and other miscellaneous rights. Such rights, powers, duties, and
             obligations are not set forth separately on Schedule G. In addition, the Debtors may
             have entered into various other types of agreements in the ordinary course of their
             business, such as supplemental agreements, letter agreements, employment-related
             agreements, and confidentiality and non-disclosure agreements, which may not be
             set forth in Schedule G. The Debtors reserve the right to dispute the effectiveness
             of any such contract listed on Schedule G or to amend Schedule G at any time to
             remove any contract.

             The Debtors have reserved all rights to dispute or challenge the characterization of
             any transaction or any document or instrument related to a creditor’s claim.

             Although the Debtors have made diligent attempts to attribute an executory contract
             to its rightful Debtor, in certain instances, the Debtors may have inadvertently failed
             to do so due to the complexity and size of the Debtors’ businesses. Accordingly,
             the Debtors reserve all of its rights with respect to the named parties of any and all
             executory contracts, including the right to amend Schedule G.




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              Omission of a contract or agreement from Schedule G does not constitute an
              admission that such omitted contract or agreement is not an executory contract or
              unexpired lease. The Debtors’ rights under the Bankruptcy Code with respect to
              any such omitted contract or agreement is not impaired by the omission. Certain
              Debtors are guarantors and parties to guaranty agreements regarding the Debtors’
              prepetition credit facility. The guaranty obligations arising under these agreements
              are reflected on Schedules D and F only.

 8.    Specific Statements Disclosures.

       (a)    Statements, Part 1, Question 1 and 2 – Gross Revenue from business. Revenue
              amounts listed for current fiscal year are through December 31, 2024.

       (b)    Statements, Part 2, Question 4 – Payments and Transfers to Certain Insiders
              within 1 year before the filing. The Debtors reported payments to certain non-
              officer and officer insiders within the year prior to the Petition Date. The Debtors
              reserve all rights with respect to the determination or status of a person as an
              “insider” as defined in section 101(13) of the Bankruptcy Code. Certain expense
              reimbursements reported in Statement 4 relate to credit card spend attributable to
              Insiders. Identifying such spend requires a manual reconciliation of credit card
              statements and the Debtors have made best efforts to allocate appropriately.
              Additionally, in some instances an individual identified as a Debtor insider may
              also serve or be employed by a non-Debtor affiliate and any payments made by the
              non-Debtor affiliate are omitted from this disclosure.

              Individual payments to Debtor affiliates are not reflected in Statement 4 due to their
              complexity and voluminous nature. The Debtors have reported net monthly
              intercompany positions for a twelve month period ending with December 31, 2024
              in Statement 4. In addition, intercompany payables and receivables as of the
              December 31, 2024 can be found on Schedule E/F and Schedule AB.

       (c)    Statements, Part 3, Question 7 – Legal Actions or Assignments. The Debtors
              have made reasonable best efforts to identify all current pending litigation and legal
              proceedings involving the Debtors. The Debtors reserve all of their rights and
              defenses with respect to any and all listed lawsuits and legal proceedings. The
              listing of such suits and proceedings shall not constitute an admission by the
              Debtors of any liabilities or that the actions or proceedings were correctly filed
              against the Debtors.

       (d)    Statements, Part 4, Question 9 – Gifts or Charitable Contributions within 2
              years before the filing. The donations and/or charitable contributions listed in
              response to Statement 9 represent payments made to third parties during the
              applicable timeframe that were recorded as such within the Debtors books and
              records.

       (e)    Statements, Part 6, Question 11– Payments Related to Bankruptcy. All
              payments for services of any entities that provided consultation concerning debt



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             counseling or restructuring services, relief under the Bankruptcy Code, or
             preparation of a petition in bankruptcy within one year immediately preceding the
             Petition Date are listed on that Debtor’s response to this Statement. Additional
             information regarding the Debtors’ retention of professional service firms is more
             fully described in individual retention applications and related orders. The Debtor
             is a healthcare provider that maintains paper and/or electronic medical records on
             its patients for treatment, payment, and healthcare operations in their facilities.
             Patient records are maintained consistent with federal, state, and other related
             requirements to ensure confidentiality, integrity, and availability of the information.

       (f)   Statement, Part 13, Question 25 – Information listed in Question 25 is based on
             best historical corporate structure information available. Certain dates of ownership
             may be approximate and certain historical address information may be unavailable
             for entities that no longer exist.

       (g)   Statements, Part 13, Question 26 – Books, records, and financial statements.
             The Debtors have historically provided financial statements to various interested
             parties over the past two years, including, but not limited to, insurance carriers,
             lenders and financial institutions, landlords, material vendors, advisors, regulatory
             and state agencies and others. The Debtors do not maintain records of the parties
             who have requested or obtained copies.

       (h)   Statements, Part 13, Question 27 – Inventories – Supervisor and Dates of
             Inventories Taken Within 2 years. The Debtors perform inventory counts of raw
             materials and finished goods inventories on an annual basis or as needed for
             operational reasons. The information included in response to Question 27 reflects
             the last two (2) inventory dates.

       (i)   Statements, Part 13, Question 28 and 29 – Current and Former Officer and
             Directors. While the Debtors have made reasonable best efforts to list all
             applicable officers and directors for each Debtor in response to Statement Questions
             28 and 29, some may have been omitted. Disclosures relate specifically to
             terminated job titles or positions and are not indicative of the individuals’ current
             employment status with the Debtors. As to each Debtor, an individual or entity
             designated as an officer or director does not necessarily qualify such entity as an
             “insider” for purposes of the Schedules and Statements if such individual or entity,
             based on the totality of the circumstances, does not have a controlling interest in,
             or exercise sufficient authority over, the Debtor so as to direct corporate policy and
             the disposition of corporate assets.

       (j)   Statements, Part 13, Question 30 – Payments, Distributions, or Withdrawals
             to Insiders. Refer to Statement Question 4 for this item.

                                *       *      *       *       *




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 Fill in this information to identify the case:

 Debtor name           PHS Holdings, LLC

 United States Bankruptcy Court for the:               Northern District of Texas, Dallas Division


 Case number (If known):                25-80015 (SGJ)
                                                                                                                                                                                          ¨ Check if this is an
                                                                                                                                                                                              amended filing




Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15


Part 1: Summary of Assets


 1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
           Copy line 88 from Schedule A/B ................................................................................................................................
                                                                                                                                                                                         $                 0.00


     1b. Total personal property:
                                                                                                                                                                                         $       2,781,545.66*
           Copy line 91A from Schedule A/B ..............................................................................................................................

     1c. Total of all property:
                                                                                                                                                                                         $       2,781,545.66*
           Copy line 92 from Schedule A/B ................................................................................................................................




Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                         $       Undetermined
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D ..........................................


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
                                                                                                                                                                                         $                 0.00
           Copy the total claims from Part 1 from line 5a of Schedule E/F .................................................................................

     3b. Total amount of claims of nonpriority amount of unsecured claims:
                                                                                                                                                                                        + $             224.65
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .......................................................




 4. Total liabilities ...............................................................................................................................................................
                                                                                                                                                                                         $             224.65*
      Lines 2 + 3a + 3b




 *Plus Undetermined Amounts

   Official Form 206Sum                                           Summary of Assets and Liabilities for Non-Individuals                                                                           page 1
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   Fill in this information to identify the case:
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    Debtor name PHS Holdings, LLC


    United States Bankruptcy Court for the: Northern District of Texas, Dallas Division
                                                                                                                                           ¨ Check if this is an
    Case number (If known) 25-80015 (SGJ)                                                                                                      amended filing



 Official Form 206A/B
 Schedule A/B: Assets - Real and Personal Property                                                                                                         12/15

 Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
 which the debtor holds rights and powers exercisable for the debtor 's own benefit. Also include assets and properties which have no book value, such as fully
 depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
 Executory Contracts and Unexpired Leases (Official Form 206G).

 Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
 name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
 include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
 the value of secured claims. See the instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents

 1. Does the debtor have any cash or cash equivalents?

    ¨      No. Go to Part 2.
    þ      Yes. Fill in the information below.

                                                                                                                                     Current value of debtor's
     All cash or cash equivalents owned or controlled by the debtor
                                                                                                                                     interest

 2. Cash on hand                                                                                                                     $                      0.00

 3. Checking, savings, money market, or financial brokerage accounts (Identify all)

    Name of institution (bank or brokerage firm)                        Type of account        Last 4 digits of account number

    3.1 City National Bank                                              Standalone Account       8    4     9     2                  $                      0.00

    3.2                                                                                                                              $


 4. Other cash equivalents (Identify all)

    4.1 None                                                                                                                         $                      0.00

    4.2                                                                                                                              $


 5. Total of Part 1
                                                                                                                                     $                      0.00
     Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


 Part 2:     Deposits and prepayments

 6. Does the debtor have any deposits or prepayments?

    þ No.Go to Part 3.
                                                                                                                                     Current value of debtor's
    ¨ Yes. Fill in the information below.                                                                                            interest
 7. Deposits, including security deposits and utility deposits

    Description, including name of holder of deposit

    7.1                                                                                                                              $
    7.2                                                                                                                              $



Official Form 206A/B                                       Schedule A/B: Assets - Real and Personal Property                                       Page 1
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 8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

     Description, including name of holder of prepayment

     8.1                                                                                                                                $

     8.2                                                                                                                                $

 9. Total of Part 2.
                                                                                                                                        $                    0.00
     Add lines 7 through 8. Copy the total to line 81.


 Part 3: Accounts receivable

 10. Does the debtor have any accounts receivable?

     þ       No. Go to Part 4.
     ¨       Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
 11. Accounts receivable

         11a. 90 days old or less:                                                                                =   ......            $
                                       face amount                       doubtful or uncollectible accounts

         11b. Over 90 days old:                                                                                   =   ......            $
                                       face amount                       doubtful or uncollectible accounts

  12. Total of Part 3
                                                                                                                                        $                    0.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


 Part 4:       Investments

  13. Does the debtor own any investments?

     ¨       No. Go to Part 5.
     þ       Yes. Fill in the information below.                                                              Valuation method         Current value of debtor's
                                                                                                              used for current value   interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:
     14.1 None                                                                                                                          $                    0.00

     14.2                                                                                                                               $


 15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
     including any interest in an LLC, partnership, or joint venture
         Name of entity:                                                            % of ownership:
     15.1 See Attached Rider                                                                          %                                 $          Undetermined

     15.2                                                                                             %                                 $



 16. Government bonds, corporate bonds, and other negotiable and non-negotiable
     instruments not included in Part 1

         Describe:
     16.1 None                                                                                                                          $                    0.00

     16.2                                                                                                                               $



 17. Total of Part 4                                                                                                                    $          Undetermined
         Add lines 14 through 16. Copy the total to line 83.


*Plus Undetermined Amounts

Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                                          Page 2
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 Part 5:       Inventory, excluding agriculture assets

 18. Does the debtor own any inventory (excluding agriculture assets)?

     þ       No. Go to Part 6.
     ¨       Yes. Fill in the information below.
         General Description                              Date of the last          Net book value of   Valuation method    Current value of
                                                          physical inventory        debtor's interest   used for current    debtor's interest
                                                                                    (Where available)   value

     19. Raw materials
                                                                                $                                           $
                                                               MM / DD / YYYY
     20. Work in progress
                                                                                $                                           $
                                                               MM / DD / YYYY
     21. Finished goods, including goods held for resale
                                                                                $                                           $
                                                               MM / DD / YYYY
     22. Other inventory or supplies

                                                                                $                                           $
                                                               MM / DD / YYYY

  23. Total of Part 5.
                                                                                                                            $                    0.00
         Add lines 19 through 22. Copy the total to line 84.

  24. Is any of the property listed in Part 5 perishable?
     ¨       No
     ¨       Yes

  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed ?

     ¨       No
     ¨       Yes. Book value $                       Valuation method                           Current value $

  26. Has any of the property listed in Part 5 been appraised by a professional within the last year ?

     ¨       No
     ¨       Yes

 Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)

  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
     þ       No. Go to Part 7.
     ¨       Yes. Fill in the information below.

         General Description                                                        Net book value of   Valuation method   Current value of debtor's
                                                                                    debtor's interest   used for current   interest
                                                                                    (Where available)   value

  28. Crops-either planted or harvested
                                                                                $                                           $

  29. Farm animals Examples: Livestock, poultry, farm-raised fish
                                                                                $                                           $

  30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                                $                                           $

  31. Farm and fishing supplies, chemicals, and feed
                                                                                $                                           $

  32. Other farming and fishing-related property not already listed in Part 6
                                                                                $                                           $



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                               Page 3
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 33. Total of Part 6.
                                                                                                                        $                    0.00
         Add lines 28 through 32. Copy the total to line 85.

 34. Is the debtor a member of an agricultural cooperative?

    ¨        No
    ¨        Yes. Is any of the debtor’s property stored at the cooperative?

           ¨       No
           ¨       Yes

 35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

    ¨        No
    ¨        Yes. Book value $                       Valuation method                       Current value $

 36. Is a depreciation schedule available for any of the property listed in Part 6?

    ¨        No
    ¨        Yes

 37. Has any of the property listed in Part 6 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes

 Part 7:       Office furniture, fixtures, and equipment; and collectibles

 38 Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    þ        No. Go to Part 8.
    ¨        Yes. Fill in the information below.

         General Description                                                    Net book value of   Valuation method   Current value of debtor's
                                                                                debtor's interest   used for current   interest
                                                                                (Where available)   value

 39. Office furniture
                                                                                $                                       $

 40. Office fixtures
                                                                                $                                       $

 41. Office equipment, including all computer equipment and
     communication systems equipment and software
                                                                                $                                       $

 42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
     artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
     or baseball card collections; other collections, memorabilia, or collectibles
    42.1                                                                        $                                       $
    42.2                                                                        $                                       $
    42.3                                                                        $                                       $

 43. Total of Part 7.
                                                                                                                        $                    0.00
         Add lines 39 through 42. Copy the total to line 86.

 44. Is a depreciation schedule available for any of the property listed in Part 7?

    ¨        No
    ¨        Yes

 45. Has any of the property listed in Part 7 been appraised by a professional within the last year ?

    ¨        No
    ¨        Yes



Official Form 206A/B                                    Schedule A/B: Assets - Real and Personal Property                           Page 4
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            Name



 Part 8:       Machinery, equipment, and vehicles

 46. Does the debtor own or lease any machinery, equipment, or vehicles?

     þ       No. Go to Part 9.
     ¨        Yes. Fill in the information below.
         General Description                                                       Net book value of   Valuation method   Current value of debtor's
         Include year, make, model, and identification numbers ( i.e., VIN,        debtor's interest   used for current   interest
         HIN, or N-number)                                                         (Where available)   value


 47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

     47.1                                                                      $                                          $
     47.2                                                                      $                                          $
     47.3                                                                      $                                          $
     47.4                                                                      $                                          $


 48. Watercraft, trailers, motors, and related accessories Examples: Boats,
     trailers, motors, floating homes, personal watercraft, and fishing vessels

     48.1                                                                      $                                          $
     48.2                                                                      $                                          $


  49. Aircraft and accessories
     49.1                                                                      $                                          $
     49.2                                                                      $                                          $


  50. Other machinery, fixtures, and equipment (excluding farm
      machinery and equipment)

                                                                               $                                          $



  51. Total of Part 8.
                                                                                                                          $                     0.00
         Add lines 47 through 50. Copy the total to line 87.


  52. Is a depreciation schedule available for any of the property listed in Part 8?
     ¨        No
     ¨        Yes


  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

     ¨        No
     ¨        Yes




Official Form 206A/B                                     Schedule A/B: Assets - Real and Personal Property                             Page 5
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 Part 9: Real property

 54. Does the debtor own or lease any real property?

     þ No. Go to Part 10.
     ¨ Yes. Fill in the information below.
  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
     Description and location of property                         Nature and extent           Net book value of   Valuation method        Current value of
     Include street address or other description such as          of debtor’s interest        debtor's interest   used for current        debtor's interest
     Assessor Parcel Number (APN), and type of property           in property                 (Where available)   value
     (for example, acreage, factory, warehouse, apartment
     or office building), if available.


     55.1                                                                                 $                                               $
     55.2                                                                                 $                                               $
     55.3                                                                                 $                                               $
     55.4                                                                                 $                                               $
     55.5                                                                                 $                                               $
     55.6                                                                                 $                                               $

  56. Total of Part 9.
                                                                                                                                          $                   0.00
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
  57. Is a depreciation schedule available for any of the property listed in Part 9?

     ¨ No
     ¨ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year ?

     ¨ No
     ¨ Yes
Part 10: Intangibles and intellectual property

  59. Does the debtor have any interests in intangibles or intellectual property?
     þ       No. Go to Part 11.
     ¨       Yes. Fill in the information below.

         General Description                                                           Net book value of     Valuation method        Current value of debtor's
                                                                                       debtor's interest     used for current        interest
                                                                                       (Where available)     value

  60. Patents, copyrights, trademarks, and trade secrets
                                                                                   $                                                  $

  61. Internet domain names and websites
                                                                                   $                                                  $

  62. Licenses, franchises, and royalties
                                                                                   $                                                  $

  63. Customer lists, mailing lists, or other compilations
                                                                                   $                                                  $

  64. Other intangibles, or intellectual property
                                                                                   $                                                  $

  65. Goodwill
                                                                                   $                                                  $

  66. Total of Part 10.
                                                                                                                                          $                   0.00
         Add lines 60 through 65. Copy the total to line 89.



Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                     Page 6
Debtor          Case 25-80015-sgj11
            PHS Holdings, LLC                       Doc 10 Filed 03/13/25 Entered 03/25/25   16:07:34
                                                                                      Case number               Desc
                                                                                                  (If known) 25-80015    Main
                                                                                                                      (SGJ)
            Name                                          Document    Page 23 of 79

  67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
     ¨ No
     ¨ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10 ?
     ¨ No
     ¨ Yes
  69. Has any of the property listed in Part 10 been appraised by a professional within the last year ?
     ¨ No
     ¨ Yes
Part 11: All other assets

  70. Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

     ¨ No. Go to Part 12.
     þ Yes. Fill in the information below.                                                                                               Current value of
                                                                                                                                         debtor's interest
  71. Notes receivable
         Description (include name of obligor)
         None                                                                                                                    =   $                   0.00
                                                                          Total Face Amount   Doubtful or uncollectible Amount

  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)
         None                                                                                                  Tax Year              $                   0.00
                                                                                                               Tax Year              $
                                                                                                               Tax Year              $

  73. Interests in insurance policies or annuities
         See Attached Rider                                                                                                          $          Undetermined

  74. Causes of action against third parties (whether or not a lawsuit
      has been filed)
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested          $

  75. Other contingent and unliquidated claims or causes of action of
      every nature, including counterclaims of the debtor and rights to
      set off claims
         None                                                                                                                        $                   0.00

         Nature of Claim
         Amount Requested          $

  76. Trusts, equitable or future interests in property
         None                                                                                                                        $                   0.00

  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership
         See Attached Rider                                                                                                          $           2,781,545.66
                                                                                                                                     $

  78. Total of Part 11.
                                                                                                                                     $          2,781,545.66*
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year ?
     þ No
     ¨ Yes
  *Plus Undetermined Amounts


Official Form 206A/B                                        Schedule A/B: Assets - Real and Personal Property                                   Page 7
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           Name



 Part 12: Summary

 In Part 12 copy all of the totals from the earlier parts of the form.


                                                                                                            Current value of                     Current value
         Type of Property
                                                                                                            personal property                   of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                   $                   0.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                       $                   0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                           $                   0.00

  83. Investments. Copy line 17, Part 4.                                                                   $         Undetermined

  84. Inventory. Copy line 23, Part 5.                                                                     $                   0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                            $                   0.00

  86. Office furniture, fixtures, and equipment; and collectibles.                                         $                   0.00
         Copy line 43, Part 7.
  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                            $                   0.00

  88. Real property. Copy line 56, Part 9. . ...............................................................................                    $0.00

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                        $                   0.00

  90. All other assets. Copy line 78, Part 11.                                                             $         2,781,545.66*

  91. Total. Add lines 80 through 90 for each column..............................91a.                     $         2,781,545.66*    + 91b.    $0.00




  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92................................................................................................   $   2,781,545.66*



  *Plus Undetermined Amounts




Official Form 206A/B                                                Schedule A/B: Assets - Real and Personal Property                                                    Page 8
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                                                                Assets - Real and Personal Property


Part 4, Question 15: Non-publicly traded stock interests in incorporated and unincorporated businesses, including any interest in an LLC, partnership, or joint venture.



    Non-publicly traded stock and interests in incorporated and                        % of         Valuation method             Current value of debtor's
    unincorporated businesses, including any interest in an LLC,                     Ownership      used for current value       interest
    partnership, or joint venture (Name of entity:)
    Prospect Health Services CT, Inc.                                                  100.0%       N/A                                              Undetermined


    Prospect Health Services PA, Inc.                                                  100.0%       N/A                                              Undetermined


    Prospect Health Services RI, Inc.                                                  100.0%       N/A                                              Undetermined



                                                                                                    TOTAL                                                     $0.00
                                                                                                                                             + Undetermined Amounts




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                                                        Assets - Real and Personal Property

                                           Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities         Policy Type                          Policy Number            Current value of debtor's
(Description)                                                                                                      interest
Ace Property and Casualty Insurance Company         Aviation                              AAP N14413157 003                         Undetermined
(Chubb)

National Union Fire Ins. Co. (A XV)                 Corporate Counsel Professional        01-615-44-94                              Undetermined
                                                    Liability

Allied World Specialty Insurance Company            Cyber Liability (Excess Security &    0313-1110                                 Undetermined
(A XV)                                              Privacy)

Endurance American Specialty Insurance Company Cyber Liability (Excess Security &         CVX30069627700                            Undetermined
(A+ XV)                                        Privacy)

QBE Specialty Insurance                             Cyber Liability (Excess Security &    130008206                                 Undetermined
(A XV)                                              Privacy)

Beazley Lloyds Syndicate 2623/623                   Difference in Conditions              D2CA47240501                              Undetermined
                                                    (Earthquake)

Mt Hawley Insurance Company - 85% (A+ XI)           Difference in Conditions              MCQ0203829                                Undetermined
Renaissance Re Syndicate (Lloyds) - 15% (A XV)      (Earthquake)

Scottsdale Insurance Company (Nationwide)           Employment Practices Liability        PHS2408766                                Undetermined


Beazley Insurance Company, Inc.                     Excess Crime                          V204B3240801                              Undetermined


Berkley Insurance Company                           Excess Crime                          BCCR-45001913-31                          Undetermined
(A+ XV)

Bridgeway Insurance Company                         Excess Directors & Officers           8JA7PX0002194-01                          Undetermined
                                                    Liability

Hudson Insurance Company                            Excess Directors & Officers           HN-0303-7551-120124                       Undetermined
                                                    Liability

Lloyd's of London                                   Excess Directors & Officers           CUAI0686-03                               Undetermined
                                                    Liability

Markel American Insurance Company                   Excess Directors & Officers           MKLM3MXM000716                            Undetermined
                                                    Liability

North River Insurance Company                       Excess Directors & Officers           575-103468-6                              Undetermined
                                                    Liability

Obsidian Specialty Insurance Company                Excess Directors & Officers           OII-587-DOX-1-2024-3-P                    Undetermined
                                                    Liability

StarStone Specialty Insurance Company               Excess Directors & Officers           DNO00013491P-03                           Undetermined
                                                    Liability

Wesco Insurance Company                             Excess Directors & Officers           EUW1909884-03                             Undetermined
                                                    Liability

Ascot Insurance Company                             Excess Directors & Officers Liability MLXS2410000572-04                         Undetermined


Freedom Specialty Insurance Company                 Excess Directors & Officers Liability XMF2410469                                Undetermined


RSUI Indemnity Company                              Excess Employment Practices           NHS712104                                 Undetermined
                                                    Liability

Endurance Risk Solutions Assurance Co.              Excess Employment Practices           MPX30011650603                            Undetermined
                                                    Liability

Ironshore Indemnity Inc.                            Excess Employment Practices           EPL7LAB3L2H004                            Undetermined
                                                    Liability

Endurance Risk Solutions Assurance Co.              Excess Fiduciary Liability            MPX30011652203                            Undetermined


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                                                       Assets - Real and Personal Property

                                          Part 11, Question 73: Interests in insurance policies or annuities



Interests in insurance policies or annuities        Policy Type                          Policy Number         Current value of debtor's
(Description)                                                                                                  interest
Ascot Insurance Company                            Excess Fiduciary Liability            MLXS2410001369-02                      Undetermined


Landmark American Insurance Company                Excess Fiduciary Liability            LHS712217                              Undetermined


Starr Indemnity & Liability Company                Excess Fiduciary Liability            1000622030241                          Undetermined


Argonaut Insurance Company                         Excess Side-A DIC                     MLX4262701-3                           Undetermined


Associated Industries Insurance Co, Inc            Excess Side-A DIC                     ANV156845A                             Undetermined


Gemini Insurance Company                           Excess Side-A DIC                     BPRO8117787                            Undetermined


General Security National Insurance Company        Excess Side-A DIC                     FA0109864-2024-1                       Undetermined


XL Specialty Insurance Company                     Excess Side-A DIC                     ELU201261-24                           Undetermined


Hudson Insurance Company                           Fiduciary Liability                   SFD31211617-04                         Undetermined


ACE American Insurance Company                     Foreign Package                       PHFD38041630 008                       Undetermined


U.S. Specialty Insurance Company                   Kidnap and Ransom                     U722-85438                             Undetermined


Illinois Union Insurance Company                   Pollution                             PPI G2784019A 010                      Undetermined


National Union Fire Insurance Compan of            Primary Crime                         01-621-67-91                           Undetermined
Pittsburgh, PA (AIG) (A XV)

AIG Specialty Ins. Co                              Property                              020413520                              Undetermined


Columbia Casualty Company - 10%                    Property                              RMP 7035071680                         Undetermined


Endurance American Specialty Insurance Company Property                                  ARL30011656003                         Undetermined
- 15%

Everest Indemnity Insurance Company - 15%          Property                              RP1P000105-241                         Undetermined


Zurich American Ins. Co.                           Property                              ZMD7129606-05                          Undetermined


Capitol Specialty Insurance Corporation            Side-A DIC                            DO20211038-04                          Undetermined


Lloyd's of London (Axis/Indigo) (A+ XV)            Technology E&O & Cyber Excess         MEDTE2403198                           Undetermined
                                                   Liability (Security & Privacy)

Lloyd's of London (Brit/Ki) (A XV)                 Technology E&O & Cyber Liability      MEDTE2401129                           Undetermined
                                                   (Security & Privacy)

                                                                                         TOTAL                                             $0.00
                                                                                                                         + Undetermined Amounts




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                                                           Assets - Real and Personal Property


                                           Part 11, Question 77: Other property of any kind not already listed



Other property of any kind not already listed                                        Current value of debtor's
Examples: Season tickets, country club membership                                    interest
Intercompany Receivable: Prospect Medical Holdings, Inc.                                                              $224.65


Intercompany Receivable: Coordinated Regional Care Group, LLC                                                    $2,781,321.01


TOTAL                                                                                                            $2,781,545.66




                                                                       Page 1 of 1
          Case
 Fill in this     25-80015-sgj11
              information              Doc
                          to identify the   10
                                          case:                              Filed 03/13/25 Entered 03/25/25 16:07:34                                   Desc Main
                                                                           Document     Page 29 of 79
 Debtor name        PHS Holdings, LLC

 United States Bankruptcy Court for the:           Northern District of Texas, Dallas Division                                                          ¨ Check if this is an
                                                                                                                                                              amended filing
 Case number (If known):          25-80015 (SGJ)


 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15
 Be as complete and accurate as possible.
 1. Do any creditors have claims secured by debtor's property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
      þ Yes. Fill in all of the information below.
 Part 1: List Creditors Who Have Secured Claims
                                                                                                                                    Column A                  Column B
  2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one                              Amount of Claim           Value of collateral
     secured claim, list the creditor separately for each claim.                                                                    Do not deduct the value   that supports this
                                                                                                                                    of collateral.            claim
2.1     Creditor's name                                               Describe debtor’s property that is subject to a lien
        MPT OF BELLFLOWER PMH, L.P.                                  See Schedule D Disclosures
                                                                                                                                    $        Undetermined     $        Undetermined

        Creditor's mailing address
        C/O MPT OPERATING PARTNERSHIP, L.P.
        1000 UPPER CENTER DRIVE
        SUITE 501                                                     Describe the lien
        ATTN: LEGAL DEPARTMENT                                       Equity Pledge on Prepetition HospitalCo Master Lease II
        BIRMINGHAM, AL 35242
        Creditor's email address, if known                            Is the creditor an insider or related party?
        LEGAL@MEDICALPROPERTIESTRUST.COM                              þ No
                                                                      ¨ Yes
        Date debt was incurred             Undetermined
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      ¨ No
        number
                                                                      þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        ¨ No
        þ Yes. Specify each creditor, including this                  þ Contingent
            creditor, and its relative priority.                      þ Unliquidated
                                                                      ¨ Disputed
2.2     Creditor's name                                               Describe debtor’s property that is subject to a lien
        MPT OF CULVER CITY PMH, L.P.                                  See Schedule D Disclosures
                                                                                                                                    $        Undetermined     $        Undetermined
        Creditor's mailing address
        C/O MPT OPERATING PARTNERSHIP, L.P.
        1000 UPPER CENTER DRIVE
        SUITE 501                                                     Describe the lien
        ATTN: LEGAL DEPARTMENT                                        Equity Pledge on Prepetition HospitalCo Master Lease II
        BIRMINGHAM, AL 35242
        Creditor's email address, if known                            Is the creditor an insider or related party?
        LEGAL@MEDICALPROPERTIESTRUST.COM                              þ No
                                                                      ¨ Yes
        Date debt was incurred             Undetermined
                                                                      Is anyone else liable on this claim?
        Last 4 digits of account                                      ¨ No
        number
                                                                      þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        Do multiple creditors have an interest in the
        same property?                                                As of the petition filing date, the claim is:
                                                                      Check all that apply.
        ¨ No
        þ Yes. Have you already specified the relative                þ Contingent
            priority?                                                 þ Unliquidated
            þ No. Specify each creditor, including this               ¨ Disputed
                      creditor, and its relative priority.



            ¨ Yes. The relative priority of creditors is
                       specified on lines

  3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                                               $




       Official Form 206D                                   Schedule D: Creditors Who Have Claims Secured by Property                                               Page 1 of 9
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           Name


                                                                                                                               Column A                Column B
   Part 1:         Additional Page                                                                                             Amount of Claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                       of collateral.          claim
   from the previous page.

2.3      Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF HOLLYWOOD PMH, L.P.                             See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo Master Lease II
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.4      Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF LOS ANGELES PMH, L.P.                           See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo Master Lease II
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 Page 2 of 9
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                                                                                                                               Column A                Column B
   Part 1:         Additional Page                                                                                             Amount of Claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                       of collateral.          claim
   from the previous page.

2.5      Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF MANCHESTER PMH, LLC                             See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo Master Lease I
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.6      Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF NORWALK PMH, L.P.                               See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo Master Lease II
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 Page 3 of 9
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           Name


                                                                                                                               Column A                Column B
   Part 1:         Additional Page                                                                                             Amount of Claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                       of collateral.          claim
   from the previous page.

2.7      Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF RIDLEY PARK PMH, LLC                            See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo MPT Mortgage Loan
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.8      Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF ROCKVILLE PMH, LLC                              See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo Master Lease I
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 Page 4 of 9
              Case 25-80015-sgj11                           Doc 10 Filed 03/13/25 Entered 03/25/25 16:07:34 Desc Main
Debtor     PHS Holdings, LLC
                                                                  Document    Page 33 Case
                                                                                      of 79number (If known): 25-80015 (SGJ)
           Name


                                                                                                                               Column A                Column B
   Part 1:         Additional Page                                                                                             Amount of Claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                       of collateral.          claim
   from the previous page.

2.9      Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF SPRINGFIELD PMH, LLC                            See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo MPT Mortgage Loan
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.10     Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF UPLAND PMH, LLC                                 See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo MPT Mortgage Loan
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 Page 5 of 9
              Case 25-80015-sgj11                           Doc 10 Filed 03/13/25 Entered 03/25/25 16:07:34 Desc Main
Debtor     PHS Holdings, LLC
                                                                  Document    Page 34 Case
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           Name


                                                                                                                               Column A                Column B
   Part 1:         Additional Page                                                                                             Amount of Claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                       of collateral.          claim
   from the previous page.

2.11     Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF UPPER DARBY PMH, LLC                            See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo MPT Mortgage Loan
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.12     Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF VAN NUYS PMH, L.P.                              See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo Master Lease II
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 Page 6 of 9
              Case 25-80015-sgj11                           Doc 10 Filed 03/13/25 Entered 03/25/25 16:07:34 Desc Main
Debtor     PHS Holdings, LLC
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           Name


                                                                                                                               Column A                Column B
   Part 1:         Additional Page                                                                                             Amount of Claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                       of collateral.          claim
   from the previous page.

2.13     Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT OF WATERBURY PMH, LLC                              See Schedule D Disclosures

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         C/O MPT OPERATING PARTNERSHIP, L.P.
         1000 UPPER CENTER DRIVE
         SUITE 501                                              Describe the lien
         ATTN: LEGAL DEPARTMENT
                                                               Equity Pledge on Prepetition HospitalCo Master Lease II
         BIRMINGHAM, AL 35242


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?
         LEGAL@MEDICALPROPERTIESTRUST.COM
                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.14     Creditor's name                                        Describe debtor’s property that is subject to a lien
         MPT TRS LENDER PMH, LLC, AS COLLATERAL                 See Schedule D Disclosures
         AGENT
                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         1000 URBAN CENTER DRIVE, SUITE 501
         BIRMINGHAM, AL 35242
                                                                Describe the lien
                                                               Guarantor to Prepetition HospitalCo Term Loan Facility


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?

                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred           Undetermined
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 þ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         þ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             þ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 Page 7 of 9
              Case 25-80015-sgj11                           Doc 10 Filed 03/13/25 Entered 03/25/25 16:07:34 Desc Main
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           Name


                                                                                                                               Column A                Column B
   Part 1:         Additional Page                                                                                             Amount of Claim         Value of collateral
                                                                                                                               Do not deduct the value that supports this
   Copy this page only if more space is needed.Continue numbering the lines sequentially                                       of collateral.          claim
   from the previous page.

2.15     Creditor's name                                        Describe debtor’s property that is subject to a lien
         PENSION BENEFIT GUARANTY CORPORATION                   As provided in the UCC Financing Statement

                                                                                                                               $         Undetermined $         Undetermined
         Creditor's mailing address
         445 12TH STREET SW
         WASHINGTON, DC 20024-2101
                                                                Describe the lien
                                                               PBGC Claims / Lien


         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?

                                                                 þ No
                                                                 ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 þ No
                                                                 ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         þ No                                                    Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                      þ Contingent
                                                                 þ Unliquidated
             ¨ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines


2.16     Creditor's name                                        Describe debtor’s property that is subject to a lien



                                                                                                                               $                       $
         Creditor's mailing address



                                                                Describe the lien




         Creditor's email address, if known
                                                                 Is the creditor an insider or related party?

                                                                 ¨ No
                                                                 ¨ Yes
         Date debt was incurred
         Last 4 digits of account
                                                                 Is anyone else liable on this claim?
         number
                                                                 ¨ No
                                                                 ¨ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
         Do multiple creditors have an interest in the
         same property?
                                                                 As of the petition filing date, the claim is:
         ¨ No                                                    Check all that apply.
         ¨ Yes. Have you already specified the relative
                  priority?                                      ¨ Contingent
                                                                 ¨ Unliquidated
             ¨ No. Specify each creditor, including this         ¨ Disputed
                     creditor, and its relative priority.



             ¨ Yes. The relative priority of creditors is
                       specified on lines




         Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 Page 8 of 9
          Case 25-80015-sgj11                      Doc 10 Filed 03/13/25 Entered 03/25/25 16:07:34 Desc Main
 Debtor    PHS Holdings, LLC                                                 Case number (If known): 25-80015 (SGJ)
           Name
                                                         Document    Page 37 of 79

Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
agencies, assignees of claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

                                                                                                                         On which line in Part 1         Last 4 digits of
   Name and address                                                                                                      did you enter the               account number
                                                                                                                         related creditor?               for this entity


                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




                                                                                                                       Line 2.




    Official Form 206D                  Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                        Page 9 of 9
             Case 25-80015-sgj11                     Doc 10            Filed 03/13/25 Entered 03/25/25 16:07:34                          Desc Main
                                               Document
   Fill in this information to identify the case:                                 Page 38 of 79

    Debtor       PHS Holdings, LLC


    United States Bankruptcy Court for the:   Northern District of Texas, Dallas Division
                                                                                                                                            ¨ Check if this is an
    Case number      25-80015 (SGJ)                                                                                                               amended filing
    (If known)




 Official Form 206E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                           12/15
 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
 claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets -
 Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the
 entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this
 form.


 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
    þ No. Go to Part 2.
    ¨ Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more
    than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                          Total claim         Priority amount
2.1 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:   $                       $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes
2.2 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:   $                       $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes
2.3 Priority creditor’s name and mailing address                      As of the petition filing date, the claim is:   $                       $
                                                                      Check all that apply.
                                                                      ¨ Contingent
                                                                      ¨ Unliquidated
                                                                      ¨ Disputed
                                                                      Basis for the claim:
    Date or dates debt was incurred

    Last 4 digits of account
    number                                                            Is the claim subject to offset?
    SpecifyCode subsection of PRIORITY unsecured                      ¨ No
    claim: 11 U.S.C. § 507(a) ()                                      ¨ Yes


  Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 1 of 4
  Debtor   Case   25-80015-sgj11
            PHS Holdings, LLC                 Doc 10 Filed 03/13/25 EnteredCase
                                                                             03/25/25        16:07:34
                                                                                number (If known)           Desc Main
                                                                                                  25-80015 (SGJ)
             Name                                   Document    Page 39 of 79
 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims
 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                        Amount of claim
3.1   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
      PROSPECT CROZER, LLC                                              Check all that apply.                            $                            224.65
      30 LAWRENCE AVENUE                                                ¨ Contingent
      BROOMALL, PA 19008
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim: Intercompany Payable

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.2   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.3   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.4   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.5   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes
3.6   Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:
                                                                        Check all that apply.                            $
                                                                        ¨ Contingent
                                                                        ¨ Unliquidated
                                                                        ¨ Disputed
                                                                        Basis for the claim:

      Date or dates debt was incurred                                   Is the claim subject to offset?
                                                                        ¨ No
      Last 4 digits of account number                                   ¨ Yes




  Official Form 206E/F                          Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 4
             Case 25-80015-sgj11                     Doc 10 Filed 03/13/25 Entered 03/25/25 16:07:34 Desc Main
   Debtor     PHS Holdings, LLC
                                                           Document               79number (If known): 25-80015 (SGJ)
                                                                       Page 40 ofCase
              Name



Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


                                                                                                                                                           Last 4 digits of
         Name and mailing address                                                                            On which line in Part 1 or Part 2 is the
                                                                                                                                                           account number, if
                                                                                                             related creditor (if any) listed?
                                                                                                                                                           any

 4.1                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.2                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.3                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.4                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.5                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.6                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.7                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.8                                                                                                         Line

                                                                                                             ¨ Not listed. Explain



 4.9                                                                                                         Line

                                                                                                             ¨ Not listed. Explain




   Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 3 of 4
 Debtor
               Case 25-80015-sgj11
               PHS Holdings, LLC
                                              Doc 10 Filed 03/13/25 Entered 03/25/25      16:07:34 Desc Main
                                                                              Case number (If known) 25-80015 (SGJ)
               Name
                                                    Document    Page 41 of 79

     Part 4:    Total Amounts of the Priority and Nonpriority Unsecured Claims


5.      Add the amounts of priority and nonpriority unsecured claims.




                                                                                                        Total of claim amounts



5a.     Total claims from Part 1                                                             5a.        $                          0.00




5b.     Total claims from Part 2                                                             5b.    +   $                        224.65




5c.     Total of Parts 1 and 2                                                               5c.        $                        224.65
        Lines 5a + 5b = 5c.




      Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                        Page 4 of 4
             Case 25-80015-sgj11                       Doc 10           Filed 03/13/25 Entered 03/25/25 16:07:34                      Desc Main
  Fill in this information to identify the case: Document                          Page 42 of 79

  Debtor name      PHS Holdings, LLC

  United States Bankruptcy Court for the:   Northern District of Texas, Dallas Division
                                                                                                                                        ¨ Check if this is an
  Case number (If known):      25-80015 (SGJ)                                                                                               amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
     ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
     þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
         Form 206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with
                                                                                          whom the debtor has an executory contract or unexpired lease
                                                Ancillary Ambulatory Surgery Dated:
         State what the contract or             07/01/2022                                 COMFORT SURGERY CENTER OF SAN ANTONIO, LLC
 2.1     lease is for and the nature                                                       1919 ROGERS ROAD
         of the debtor’s interest                                                          STE 102
                                                                                           ATTN: CEO
         State the term remaining                                                          SAN ANTONIO, TX 78251

         List the contract number of
         any government contract

                                                Legal BAA Dated: 01/01/2021
         State what the contract or                                                        DATALINK SOFTWARE
 2.2     lease is for and the nature                                                       14055 RIVEREDGE DR
         of the debtor’s interest                                                          #600
                                                                                           TAMPA, FL 33637
         State the term remaining
         List the contract number of
         any government contract

                                                Ancillary Hospital Services Dated:
         State what the contract or             09/01/2022                                 EAST BAY COMMUNITY ACTION PROGRAM
 2.3     lease is for and the nature                                                       19 BROADWAY
         of the debtor’s interest                                                          NEWPORT, RI 02840

         State the term remaining
         List the contract number of
         any government contract

                                                Ancillary Ambulatory Surgery Dated:
         State what the contract or             01/01/2024                                 TOTAL VASCULAR CARE
 2.4     lease is for and the nature                                                       215 N. SAN SABA #201
         of the debtor’s interest                                                          SAN ANTONIO, TX 78207

         State the term remaining
         List the contract number of
         any government contract



         State what the contract or
         lease is for and the nature
         of the debtor’s interest

         State the term remaining
         List the contract number of
         any government contract




Official Form 206G                                      Schedule G: Executory Contracts and Unexpired Leases                                    Page 1 of 1
            Case 25-80015-sgj11         Doc 10 Filed 03/13/25 Entered 03/25/25 16:07:34                                                            Desc Main
  Fill in this information to identify the case:
                                                 Document Page 43 of 79

 Debtor name      PHS Holdings, LLC

 United States Bankruptcy Court for the:    Northern District of Texas, Dallas Division
                                                                                                                                                   ¨ Check if this is an
 Case number (If known):      25-80015 (SGJ)                                                                                                           amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                                            12/15
Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
additional Page to this page.

   1. Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
      schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                                Column 2: Creditor

          Name                             Mailing address                                                                  Name                     Check all schedules
                                                                                                                                                     that apply:
 2.1   Alta Hospitals System,                                                                                            MPT OF BELLFLOWER           þ D
       LLC                                                                                                               PMH, L.P.                   ¨ E/F
                                                                                                                                                     ¨ G



 2.2   Alta Hospitals System,                                                                                            MPT OF CULVER CITY          þ D
       LLC                                                                                                               PMH, L.P.                   ¨ E/F
                                                                                                                                                     ¨ G



 2.3   Alta Hospitals System,                                                                                            MPT OF HOLLYWOOD            þ D
       LLC                                                                                                               PMH, L.P.                   ¨ E/F
                                                                                                                                                     ¨ G



 2.4   Alta Hospitals System,                                                                                            MPT OF LOS ANGELES          þ D
       LLC                                                                                                               PMH, L.P.                   ¨ E/F
                                                                                                                                                     ¨ G



 2.5   Alta Hospitals System,                                                                                            MPT OF MANCHESTER           þ D
       LLC                                                                                                               PMH, LLC                    ¨ E/F
                                                                                                                                                     ¨ G



 2.6   Alta Hospitals System,                                                                                            MPT OF NORWALK PMH,         þ D
       LLC                                                                                                               L.P.                        ¨ E/F
                                                                                                                                                     ¨ G




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            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

 2.7    Alta Hospitals System,                                                                                   MPT OF RIDLEY PARK     þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.8    Alta Hospitals System,                                                                                   MPT OF ROCKVILLE       þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.9    Alta Hospitals System,                                                                                   MPT OF SPRINGFIELD     þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.10   Alta Hospitals System,                                                                                   MPT OF UPLAND PMH,     þ D
        LLC                                                                                                      LLC                    ¨ E/F
                                                                                                                                        ¨ G



 2.11   Alta Hospitals System,                                                                                   MPT OF UPPER DARBY     þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.12   Alta Hospitals System,                                                                                   MPT OF VAN NUYS PMH,   þ D
        LLC                                                                                                      L.P.                   ¨ E/F
                                                                                                                                        ¨ G



 2.13   Alta Hospitals System,                                                                                   MPT OF WATERBURY       þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.14   Alta Hospitals System,                                                                                   MPT TRS LENDER PMH,    þ D
        LLC                                                                                                      LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

 2.15   Alta Los Angeles                                                                                         MPT OF BELLFLOWER     þ D
        Hospitals, Inc.                                                                                          PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.16   Alta Los Angeles                                                                                         MPT OF CULVER CITY    þ D
        Hospitals, Inc.                                                                                          PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.17   Alta Los Angeles                                                                                         MPT OF HOLLYWOOD      þ D
        Hospitals, Inc.                                                                                          PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.18   Alta Los Angeles                                                                                         MPT OF LOS ANGELES    þ D
        Hospitals, Inc.                                                                                          PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.19   Alta Los Angeles                                                                                         MPT OF MANCHESTER     þ D
        Hospitals, Inc.                                                                                          PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.20   Alta Los Angeles                                                                                         MPT OF NORWALK PMH,   þ D
        Hospitals, Inc.                                                                                          L.P.                  ¨ E/F
                                                                                                                                       ¨ G



 2.21   Alta Los Angeles                                                                                         MPT OF RIDLEY PARK    þ D
        Hospitals, Inc.                                                                                          PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.22   Alta Los Angeles                                                                                         MPT OF ROCKVILLE      þ D
        Hospitals, Inc.                                                                                          PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

 2.23   Alta Los Angeles                                                                                         MPT OF SPRINGFIELD     þ D
        Hospitals, Inc.                                                                                          PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.24   Alta Los Angeles                                                                                         MPT OF UPLAND PMH,     þ D
        Hospitals, Inc.                                                                                          LLC                    ¨ E/F
                                                                                                                                        ¨ G



 2.25   Alta Los Angeles                                                                                         MPT OF UPPER DARBY     þ D
        Hospitals, Inc.                                                                                          PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.26   Alta Los Angeles                                                                                         MPT OF VAN NUYS PMH,   þ D
        Hospitals, Inc.                                                                                          L.P.                   ¨ E/F
                                                                                                                                        ¨ G



 2.27   Alta Los Angeles                                                                                         MPT OF WATERBURY       þ D
        Hospitals, Inc.                                                                                          PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.28   Alta Los Angeles                                                                                         MPT TRS LENDER PMH,    þ D
        Hospitals, Inc.                                                                                          LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



 2.29   Cardiology Associates of                                                                                 MPT TRS LENDER PMH,    þ D
        Greater Waterbury, P.C.                                                                                  LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



 2.30   Coordinated Regional                                                                                     MPT OF BELLFLOWER      þ D
        Care Group, LLC                                                                                          PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

 2.31   Coordinated Regional                                                                                     MPT OF CULVER CITY    þ D
        Care Group, LLC                                                                                          PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.32   Coordinated Regional                                                                                     MPT OF HOLLYWOOD      þ D
        Care Group, LLC                                                                                          PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.33   Coordinated Regional                                                                                     MPT OF LOS ANGELES    þ D
        Care Group, LLC                                                                                          PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.34   Coordinated Regional                                                                                     MPT OF MANCHESTER     þ D
        Care Group, LLC                                                                                          PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.35   Coordinated Regional                                                                                     MPT OF NORWALK PMH,   þ D
        Care Group, LLC                                                                                          L.P.                  ¨ E/F
                                                                                                                                       ¨ G



 2.36   Coordinated Regional                                                                                     MPT OF RIDLEY PARK    þ D
        Care Group, LLC                                                                                          PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.37   Coordinated Regional                                                                                     MPT OF ROCKVILLE      þ D
        Care Group, LLC                                                                                          PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.38   Coordinated Regional                                                                                     MPT OF SPRINGFIELD    þ D
        Care Group, LLC                                                                                          PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G




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            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

 2.39   Coordinated Regional                                                                                     MPT OF UPLAND PMH,     þ D
        Care Group, LLC                                                                                          LLC                    ¨ E/F
                                                                                                                                        ¨ G



 2.40   Coordinated Regional                                                                                     MPT OF UPPER DARBY     þ D
        Care Group, LLC                                                                                          PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.41   Coordinated Regional                                                                                     MPT OF VAN NUYS PMH,   þ D
        Care Group, LLC                                                                                          L.P.                   ¨ E/F
                                                                                                                                        ¨ G



 2.42   Coordinated Regional                                                                                     MPT OF WATERBURY       þ D
        Care Group, LLC                                                                                          PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.43   Coordinated Regional                                                                                     MPT TRS LENDER PMH,    þ D
        Care Group, LLC                                                                                          LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



 2.44   Healthcare Staffing on                                                                                   MPT TRS LENDER PMH,    þ D
        Demand, LLC                                                                                              LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



 2.45   New University Medical                                                                                   MPT TRS LENDER PMH,    þ D
        Group, LLC                                                                                               LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



 2.46   Nix Community General                                                                                    MPT TRS LENDER PMH,    þ D
        Hospital, LLC                                                                                            LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G




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         Column 1: Codebtor                                                                                        Column 2: Creditor

            Name                       Mailing address                                                               Name               Check all schedules
                                                                                                                                        that apply:

 2.47   Nix Hospitals System, LLC                                                                                 MPT TRS LENDER PMH,   þ D
                                                                                                                  LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



 2.48   Nix Physicians, Inc.                                                                                      MPT TRS LENDER PMH,   þ D
                                                                                                                  LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



 2.49   Nix Services, LLC                                                                                         MPT TRS LENDER PMH,   þ D
                                                                                                                  LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



 2.50   Nix SPE, LLC                                                                                              MPT TRS LENDER PMH,   þ D
                                                                                                                  LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



 2.51   Prospect ACO Holdings,                                                                                    MPT OF BELLFLOWER     þ D
        LLC                                                                                                       PMH, L.P.             ¨ E/F
                                                                                                                                        ¨ G



 2.52   Prospect ACO Holdings,                                                                                    MPT OF CULVER CITY    þ D
        LLC                                                                                                       PMH, L.P.             ¨ E/F
                                                                                                                                        ¨ G



 2.53   Prospect ACO Holdings,                                                                                    MPT OF HOLLYWOOD      þ D
        LLC                                                                                                       PMH, L.P.             ¨ E/F
                                                                                                                                        ¨ G



 2.54   Prospect ACO Holdings,                                                                                    MPT OF LOS ANGELES    þ D
        LLC                                                                                                       PMH, L.P.             ¨ E/F
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

 2.55   Prospect ACO Holdings,                                                                                   MPT OF MANCHESTER      þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.56   Prospect ACO Holdings,                                                                                   MPT OF NORWALK PMH,    þ D
        LLC                                                                                                      L.P.                   ¨ E/F
                                                                                                                                        ¨ G



 2.57   Prospect ACO Holdings,                                                                                   MPT OF RIDLEY PARK     þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.58   Prospect ACO Holdings,                                                                                   MPT OF ROCKVILLE       þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.59   Prospect ACO Holdings,                                                                                   MPT OF SPRINGFIELD     þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.60   Prospect ACO Holdings,                                                                                   MPT OF UPLAND PMH,     þ D
        LLC                                                                                                      LLC                    ¨ E/F
                                                                                                                                        ¨ G



 2.61   Prospect ACO Holdings,                                                                                   MPT OF UPPER DARBY     þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.62   Prospect ACO Holdings,                                                                                   MPT OF VAN NUYS PMH,   þ D
        LLC                                                                                                      L.P.                   ¨ E/F
                                                                                                                                        ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

 2.63   Prospect ACO Holdings,                                                                                   MPT OF WATERBURY      þ D
        LLC                                                                                                      PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.64   Prospect ACO Holdings,                                                                                   MPT TRS LENDER PMH,   þ D
        LLC                                                                                                      LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.65   Prospect ACO Northeast,                                                                                  MPT TRS LENDER PMH,   þ D
        LLC                                                                                                      LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.66   Prospect Ambulatory                                                                                      MPT TRS LENDER PMH,   þ D
        Holding, LLC                                                                                             LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.67   Prospect Ambulatory                                                                                      MPT TRS LENDER PMH,   þ D
        Surgery Centers, LLC                                                                                     LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.68   Prospect Blackstone                                                                                      MPT TRS LENDER PMH,   þ D
        Valley Surgicare, LLC                                                                                    LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.69   Prospect Caring Hand,                                                                                    MPT TRS LENDER PMH,   þ D
        Inc.                                                                                                     LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.70   Prospect CCMC, LLC                                                                                       MPT OF BELLFLOWER     þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G




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            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

 2.71   Prospect CCMC, LLC                                                                                       MPT OF CULVER CITY    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.72   Prospect CCMC, LLC                                                                                       MPT OF HOLLYWOOD      þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.73   Prospect CCMC, LLC                                                                                       MPT OF LOS ANGELES    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.74   Prospect CCMC, LLC                                                                                       MPT OF MANCHESTER     þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.75   Prospect CCMC, LLC                                                                                       MPT OF NORWALK PMH,   þ D
                                                                                                                 L.P.                  ¨ E/F
                                                                                                                                       ¨ G



 2.76   Prospect CCMC, LLC                                                                                       MPT OF RIDLEY PARK    þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.77   Prospect CCMC, LLC                                                                                       MPT OF ROCKVILLE      þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.78   Prospect CCMC, LLC                                                                                       MPT OF SPRINGFIELD    þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G




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                                                                                                                                        that apply:

 2.79   Prospect CCMC, LLC                                                                                       MPT OF UPLAND PMH,     þ D
                                                                                                                 LLC                    ¨ E/F
                                                                                                                                        ¨ G



 2.80   Prospect CCMC, LLC                                                                                       MPT OF UPPER DARBY     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.81   Prospect CCMC, LLC                                                                                       MPT OF VAN NUYS PMH,   þ D
                                                                                                                 L.P.                   ¨ E/F
                                                                                                                                        ¨ G



 2.82   Prospect CCMC, LLC                                                                                       MPT OF WATERBURY       þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



 2.83   Prospect CCMC, LLC                                                                                       MPT TRS LENDER PMH,    þ D
                                                                                                                 LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



 2.84   Prospect CharterCARE                                                                                     MPT TRS LENDER PMH,    þ D
        Ancillary Services, LLC                                                                                  LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



 2.85   Prospect CharterCARE                                                                                     MPT TRS LENDER PMH,    þ D
        Home Health and Hospice,                                                                                 LLC, AS COLLATERAL     ¨ E/F
        LLC                                                                                                      AGENT
                                                                                                                                        ¨ G



 2.86   Prospect CharterCARE                                                                                     MPT TRS LENDER PMH,    þ D
        Physicians, LLC                                                                                          LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

 2.87   Prospect CharterCARE                                                                                     MPT TRS LENDER PMH,   þ D
        RWMC, LLC                                                                                                LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.88   Prospect CharterCARE                                                                                     MPT TRS LENDER PMH,   þ D
        SJHSRI, LLC                                                                                              LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.89   Prospect CharterCARE,                                                                                    MPT TRS LENDER PMH,   þ D
        LLC                                                                                                      LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.90   Prospect Crozer Home                                                                                     MPT TRS LENDER PMH,   þ D
        Health and Hospice, LLC                                                                                  LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.91   Prospect Crozer Urgent                                                                                   MPT TRS LENDER PMH,   þ D
        Care, LLC                                                                                                LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



 2.92   Prospect Crozer, LLC                                                                                     MPT OF BELLFLOWER     þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.93   Prospect Crozer, LLC                                                                                     MPT OF CULVER CITY    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.94   Prospect Crozer, LLC                                                                                     MPT OF HOLLYWOOD      þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G




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                                                                                                                                       that apply:

 2.95   Prospect Crozer, LLC                                                                                     MPT OF LOS ANGELES    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



 2.96   Prospect Crozer, LLC                                                                                     MPT OF MANCHESTER     þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.97   Prospect Crozer, LLC                                                                                     MPT OF NORWALK PMH,   þ D
                                                                                                                 L.P.                  ¨ E/F
                                                                                                                                       ¨ G



 2.98   Prospect Crozer, LLC                                                                                     MPT OF RIDLEY PARK    þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



 2.99   Prospect Crozer, LLC                                                                                     MPT OF ROCKVILLE      þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.100   Prospect Crozer, LLC                                                                                     MPT OF SPRINGFIELD    þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.101   Prospect Crozer, LLC                                                                                     MPT OF UPLAND PMH,    þ D
                                                                                                                 LLC                   ¨ E/F
                                                                                                                                       ¨ G



2.102   Prospect Crozer, LLC                                                                                     MPT OF UPPER DARBY    þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G




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                                                                                                                                        that apply:

2.103   Prospect Crozer, LLC                                                                                     MPT OF VAN NUYS PMH,   þ D
                                                                                                                 L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.104   Prospect Crozer, LLC                                                                                     MPT OF WATERBURY       þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.105   Prospect Crozer, LLC                                                                                     MPT TRS LENDER PMH,    þ D
                                                                                                                 LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.106   Prospect CT Management                                                                                   MPT TRS LENDER PMH,    þ D
        Services, Inc.                                                                                           LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.107   Prospect CT Medical                                                                                      MPT OF BELLFLOWER      þ D
        Foundation, Inc.                                                                                         PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.108   Prospect CT Medical                                                                                      MPT OF CULVER CITY     þ D
        Foundation, Inc.                                                                                         PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.109   Prospect CT Medical                                                                                      MPT OF HOLLYWOOD       þ D
        Foundation, Inc.                                                                                         PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.110   Prospect CT Medical                                                                                      MPT OF LOS ANGELES     þ D
        Foundation, Inc.                                                                                         PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.111   Prospect CT Medical                                                                                      MPT OF MANCHESTER      þ D
        Foundation, Inc.                                                                                         PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.112   Prospect CT Medical                                                                                      MPT OF NORWALK PMH,    þ D
        Foundation, Inc.                                                                                         L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.113   Prospect CT Medical                                                                                      MPT OF RIDLEY PARK     þ D
        Foundation, Inc.                                                                                         PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.114   Prospect CT Medical                                                                                      MPT OF ROCKVILLE       þ D
        Foundation, Inc.                                                                                         PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.115   Prospect CT Medical                                                                                      MPT OF SPRINGFIELD     þ D
        Foundation, Inc.                                                                                         PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.116   Prospect CT Medical                                                                                      MPT OF UPLAND PMH,     þ D
        Foundation, Inc.                                                                                         LLC                    ¨ E/F
                                                                                                                                        ¨ G



2.117   Prospect CT Medical                                                                                      MPT OF UPPER DARBY     þ D
        Foundation, Inc.                                                                                         PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.118   Prospect CT Medical                                                                                      MPT OF VAN NUYS PMH,   þ D
        Foundation, Inc.                                                                                         L.P.                   ¨ E/F
                                                                                                                                        ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

2.119   Prospect CT Medical                                                                                      MPT OF WATERBURY      þ D
        Foundation, Inc.                                                                                         PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.120   Prospect CT Medical                                                                                      MPT TRS LENDER PMH,   þ D
        Foundation, Inc.                                                                                         LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



2.121   Prospect CT, Inc.                                                                                        MPT OF BELLFLOWER     þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.122   Prospect CT, Inc.                                                                                        MPT OF CULVER CITY    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.123   Prospect CT, Inc.                                                                                        MPT OF HOLLYWOOD      þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.124   Prospect CT, Inc.                                                                                        MPT OF LOS ANGELES    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.125   Prospect CT, Inc.                                                                                        MPT OF MANCHESTER     þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.126   Prospect CT, Inc.                                                                                        MPT OF NORWALK PMH,   þ D
                                                                                                                 L.P.                  ¨ E/F
                                                                                                                                       ¨ G




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            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.127   Prospect CT, Inc.                                                                                        MPT OF RIDLEY PARK     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.128   Prospect CT, Inc.                                                                                        MPT OF ROCKVILLE       þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.129   Prospect CT, Inc.                                                                                        MPT OF SPRINGFIELD     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.130   Prospect CT, Inc.                                                                                        MPT OF UPLAND PMH,     þ D
                                                                                                                 LLC                    ¨ E/F
                                                                                                                                        ¨ G



2.131   Prospect CT, Inc.                                                                                        MPT OF UPPER DARBY     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.132   Prospect CT, Inc.                                                                                        MPT OF VAN NUYS PMH,   þ D
                                                                                                                 L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.133   Prospect CT, Inc.                                                                                        MPT OF WATERBURY       þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.134   Prospect CT, Inc.                                                                                        MPT TRS LENDER PMH,    þ D
                                                                                                                 LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

2.135   Prospect DCMH, LLC                                                                                       MPT OF BELLFLOWER     þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.136   Prospect DCMH, LLC                                                                                       MPT OF CULVER CITY    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.137   Prospect DCMH, LLC                                                                                       MPT OF HOLLYWOOD      þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.138   Prospect DCMH, LLC                                                                                       MPT OF LOS ANGELES    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.139   Prospect DCMH, LLC                                                                                       MPT OF MANCHESTER     þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.140   Prospect DCMH, LLC                                                                                       MPT OF NORWALK PMH,   þ D
                                                                                                                 L.P.                  ¨ E/F
                                                                                                                                       ¨ G



2.141   Prospect DCMH, LLC                                                                                       MPT OF RIDLEY PARK    þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.142   Prospect DCMH, LLC                                                                                       MPT OF ROCKVILLE      þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.143   Prospect DCMH, LLC                                                                                       MPT OF SPRINGFIELD     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.144   Prospect DCMH, LLC                                                                                       MPT OF UPLAND PMH,     þ D
                                                                                                                 LLC                    ¨ E/F
                                                                                                                                        ¨ G



2.145   Prospect DCMH, LLC                                                                                       MPT OF UPPER DARBY     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.146   Prospect DCMH, LLC                                                                                       MPT OF VAN NUYS PMH,   þ D
                                                                                                                 L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.147   Prospect DCMH, LLC                                                                                       MPT OF WATERBURY       þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.148   Prospect DCMH, LLC                                                                                       MPT TRS LENDER PMH,    þ D
                                                                                                                 LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.149   Prospect East Holdings,                                                                                  MPT TRS LENDER PMH,    þ D
        Inc.                                                                                                     LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.150   Prospect East Hospital                                                                                   MPT TRS LENDER PMH,    þ D
        Advisory Services, LLC                                                                                   LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

2.151   Prospect ECHN Eldercare                                                                                  MPT TRS LENDER PMH,   þ D
        Services, Inc.                                                                                           LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



2.152   Prospect ECHN Home                                                                                       MPT TRS LENDER PMH,   þ D
        Health, Inc.                                                                                             LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



2.153   Prospect ECHN, Inc.                                                                                      MPT OF BELLFLOWER     þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.154   Prospect ECHN, Inc.                                                                                      MPT OF CULVER CITY    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.155   Prospect ECHN, Inc.                                                                                      MPT OF HOLLYWOOD      þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.156   Prospect ECHN, Inc.                                                                                      MPT OF LOS ANGELES    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.157   Prospect ECHN, Inc.                                                                                      MPT OF MANCHESTER     þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.158   Prospect ECHN, Inc.                                                                                      MPT OF NORWALK PMH,   þ D
                                                                                                                 L.P.                  ¨ E/F
                                                                                                                                       ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.159   Prospect ECHN, Inc.                                                                                      MPT OF RIDLEY PARK     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.160   Prospect ECHN, Inc.                                                                                      MPT OF ROCKVILLE       þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.161   Prospect ECHN, Inc.                                                                                      MPT OF SPRINGFIELD     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.162   Prospect ECHN, Inc.                                                                                      MPT OF UPLAND PMH,     þ D
                                                                                                                 LLC                    ¨ E/F
                                                                                                                                        ¨ G



2.163   Prospect ECHN, Inc.                                                                                      MPT OF UPPER DARBY     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.164   Prospect ECHN, Inc.                                                                                      MPT OF VAN NUYS PMH,   þ D
                                                                                                                 L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.165   Prospect ECHN, Inc.                                                                                      MPT OF WATERBURY       þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.166   Prospect Health Services                                                                                 MPT TRS LENDER PMH,    þ D
        CT, Inc.                                                                                                 LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G




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                                                                                                                                        that apply:

2.167   Prospect Health Services                                                                                  MPT TRS LENDER PMH,   þ D
        PA, Inc.                                                                                                  LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



2.168   Prospect Health Services                                                                                  MPT TRS LENDER PMH,   þ D
        RI, Inc.                                                                                                  LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



2.169   Prospect Health Ventures                                                                                  MPT TRS LENDER PMH,   þ D
        Holdings, LLC                                                                                             LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



2.170   Prospect Healthcare                                                                                       MPT TRS LENDER PMH,   þ D
        Facilities Management,                                                                                    LLC, AS COLLATERAL    ¨ E/F
        LLC                                                                                                       AGENT
                                                                                                                                        ¨ G



2.171   Prospect Home Health                                                                                      MPT TRS LENDER PMH,   þ D
        and Hospice, LLC                                                                                          LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



2.172   Prospect Hospital                                                                                         MPT TRS LENDER PMH,   þ D
        Holdings, LLC                                                                                             LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



2.173   Prospect Integrated                                                                                       MPT TRS LENDER PMH,   þ D
        Behavioral Health, Inc.                                                                                   LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G



2.174   Prospect Management                                                                                       MPT TRS LENDER PMH,   þ D
        Services, LLC                                                                                             LLC, AS COLLATERAL    ¨ E/F
                                                                                                                  AGENT
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

2.175   Prospect Manchester                                                                                      MPT OF BELLFLOWER     þ D
        Hospital, Inc.                                                                                           PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.176   Prospect Manchester                                                                                      MPT OF CULVER CITY    þ D
        Hospital, Inc.                                                                                           PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.177   Prospect Manchester                                                                                      MPT OF HOLLYWOOD      þ D
        Hospital, Inc.                                                                                           PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.178   Prospect Manchester                                                                                      MPT OF LOS ANGELES    þ D
        Hospital, Inc.                                                                                           PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.179   Prospect Manchester                                                                                      MPT OF MANCHESTER     þ D
        Hospital, Inc.                                                                                           PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.180   Prospect Manchester                                                                                      MPT OF NORWALK PMH,   þ D
        Hospital, Inc.                                                                                           L.P.                  ¨ E/F
                                                                                                                                       ¨ G



2.181   Prospect Manchester                                                                                      MPT OF RIDLEY PARK    þ D
        Hospital, Inc.                                                                                           PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.182   Prospect Manchester                                                                                      MPT OF ROCKVILLE      þ D
        Hospital, Inc.                                                                                           PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G




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                                                                                                                                        that apply:

2.183   Prospect Manchester                                                                                      MPT OF SPRINGFIELD     þ D
        Hospital, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.184   Prospect Manchester                                                                                      MPT OF UPLAND PMH,     þ D
        Hospital, Inc.                                                                                           LLC                    ¨ E/F
                                                                                                                                        ¨ G



2.185   Prospect Manchester                                                                                      MPT OF UPPER DARBY     þ D
        Hospital, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.186   Prospect Manchester                                                                                      MPT OF VAN NUYS PMH,   þ D
        Hospital, Inc.                                                                                           L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.187   Prospect Manchester                                                                                      MPT OF WATERBURY       þ D
        Hospital, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.188   Prospect Manchester                                                                                      MPT TRS LENDER PMH,    þ D
        Hospital, Inc.                                                                                           LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.189   Prospect Medical                                                                                         MPT OF BELLFLOWER      þ D
        Holdings, Inc.                                                                                           PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.190   Prospect Medical                                                                                         MPT OF CULVER CITY     þ D
        Holdings, Inc.                                                                                           PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

2.191   Prospect Medical                                                                                         MPT OF HOLLYWOOD      þ D
        Holdings, Inc.                                                                                           PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.192   Prospect Medical                                                                                         MPT OF LOS ANGELES    þ D
        Holdings, Inc.                                                                                           PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.193   Prospect Medical                                                                                         MPT OF MANCHESTER     þ D
        Holdings, Inc.                                                                                           PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.194   Prospect Medical                                                                                         MPT OF NORWALK PMH,   þ D
        Holdings, Inc.                                                                                           L.P.                  ¨ E/F
                                                                                                                                       ¨ G



2.195   Prospect Medical                                                                                         MPT OF RIDLEY PARK    þ D
        Holdings, Inc.                                                                                           PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.196   Prospect Medical                                                                                         MPT OF ROCKVILLE      þ D
        Holdings, Inc.                                                                                           PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.197   Prospect Medical                                                                                         MPT OF SPRINGFIELD    þ D
        Holdings, Inc.                                                                                           PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.198   Prospect Medical                                                                                         MPT OF UPLAND PMH,    þ D
        Holdings, Inc.                                                                                           LLC                   ¨ E/F
                                                                                                                                       ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.199   Prospect Medical                                                                                         MPT OF UPPER DARBY     þ D
        Holdings, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.200   Prospect Medical                                                                                         MPT OF VAN NUYS PMH,   þ D
        Holdings, Inc.                                                                                           L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.201   Prospect Medical                                                                                         MPT OF WATERBURY       þ D
        Holdings, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.202   Prospect Medical                                                                                         MPT TRS LENDER PMH,    þ D
        Holdings, Inc.                                                                                           LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.203   Prospect Penn Health                                                                                     MPT TRS LENDER PMH,    þ D
        Club, LLC                                                                                                LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.204   Prospect Penn, LLC                                                                                       MPT OF BELLFLOWER      þ D
                                                                                                                 PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.205   Prospect Penn, LLC                                                                                       MPT OF CULVER CITY     þ D
                                                                                                                 PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.206   Prospect Penn, LLC                                                                                       MPT OF HOLLYWOOD       þ D
                                                                                                                 PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

2.207   Prospect Penn, LLC                                                                                       MPT OF LOS ANGELES    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.208   Prospect Penn, LLC                                                                                       MPT OF MANCHESTER     þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.209   Prospect Penn, LLC                                                                                       MPT OF NORWALK PMH,   þ D
                                                                                                                 L.P.                  ¨ E/F
                                                                                                                                       ¨ G



2.210   Prospect Penn, LLC                                                                                       MPT OF RIDLEY PARK    þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.211   Prospect Penn, LLC                                                                                       MPT OF ROCKVILLE      þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.212   Prospect Penn, LLC                                                                                       MPT OF SPRINGFIELD    þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.213   Prospect Penn, LLC                                                                                       MPT OF UPLAND PMH,    þ D
                                                                                                                 LLC                   ¨ E/F
                                                                                                                                       ¨ G



2.214   Prospect Penn, LLC                                                                                       MPT OF UPPER DARBY    þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G




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            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.215   Prospect Penn, LLC                                                                                       MPT OF VAN NUYS PMH,   þ D
                                                                                                                 L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.216   Prospect Penn, LLC                                                                                       MPT OF WATERBURY       þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.217   Prospect Penn, LLC                                                                                       MPT TRS LENDER PMH,    þ D
                                                                                                                 LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.218   Prospect Provider Group                                                                                  MPT TRS LENDER PMH,    þ D
        CT, LLC                                                                                                  LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.219   Prospect Provider Group                                                                                  MPT TRS LENDER PMH,    þ D
        PA, LLC                                                                                                  LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.220   Prospect Provider Group                                                                                  MPT TRS LENDER PMH,    þ D
        RI, LLC                                                                                                  LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.221   Prospect Provider Groups,                                                                                MPT OF BELLFLOWER      þ D
        LLC                                                                                                      PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.222   Prospect Provider Groups,                                                                                MPT OF CULVER CITY     þ D
        LLC                                                                                                      PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

2.223   Prospect Provider Groups,                                                                                MPT OF HOLLYWOOD      þ D
        LLC                                                                                                      PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.224   Prospect Provider Groups,                                                                                MPT OF LOS ANGELES    þ D
        LLC                                                                                                      PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.225   Prospect Provider Groups,                                                                                MPT OF MANCHESTER     þ D
        LLC                                                                                                      PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.226   Prospect Provider Groups,                                                                                MPT OF NORWALK PMH,   þ D
        LLC                                                                                                      L.P.                  ¨ E/F
                                                                                                                                       ¨ G



2.227   Prospect Provider Groups,                                                                                MPT OF RIDLEY PARK    þ D
        LLC                                                                                                      PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.228   Prospect Provider Groups,                                                                                MPT OF ROCKVILLE      þ D
        LLC                                                                                                      PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.229   Prospect Provider Groups,                                                                                MPT OF SPRINGFIELD    þ D
        LLC                                                                                                      PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.230   Prospect Provider Groups,                                                                                MPT OF UPLAND PMH,    þ D
        LLC                                                                                                      LLC                   ¨ E/F
                                                                                                                                       ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.231   Prospect Provider Groups,                                                                                MPT OF UPPER DARBY     þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.232   Prospect Provider Groups,                                                                                MPT OF VAN NUYS PMH,   þ D
        LLC                                                                                                      L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.233   Prospect Provider Groups,                                                                                MPT OF WATERBURY       þ D
        LLC                                                                                                      PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.234   Prospect RI Home Health                                                                                  MPT TRS LENDER PMH,    þ D
        and Hospice, LLC                                                                                         LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G



2.235   Prospect Rockville                                                                                       MPT OF BELLFLOWER      þ D
        Hospital, Inc.                                                                                           PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.236   Prospect Rockville                                                                                       MPT OF CULVER CITY     þ D
        Hospital, Inc.                                                                                           PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.237   Prospect Rockville                                                                                       MPT OF HOLLYWOOD       þ D
        Hospital, Inc.                                                                                           PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G



2.238   Prospect Rockville                                                                                       MPT OF LOS ANGELES     þ D
        Hospital, Inc.                                                                                           PMH, L.P.              ¨ E/F
                                                                                                                                        ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.239   Prospect Rockville                                                                                       MPT OF MANCHESTER      þ D
        Hospital, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.240   Prospect Rockville                                                                                       MPT OF NORWALK PMH,    þ D
        Hospital, Inc.                                                                                           L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.241   Prospect Rockville                                                                                       MPT OF RIDLEY PARK     þ D
        Hospital, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.242   Prospect Rockville                                                                                       MPT OF ROCKVILLE       þ D
        Hospital, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.243   Prospect Rockville                                                                                       MPT OF SPRINGFIELD     þ D
        Hospital, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.244   Prospect Rockville                                                                                       MPT OF UPLAND PMH,     þ D
        Hospital, Inc.                                                                                           LLC                    ¨ E/F
                                                                                                                                        ¨ G



2.245   Prospect Rockville                                                                                       MPT OF UPPER DARBY     þ D
        Hospital, Inc.                                                                                           PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.246   Prospect Rockville                                                                                       MPT OF VAN NUYS PMH,   þ D
        Hospital, Inc.                                                                                           L.P.                   ¨ E/F
                                                                                                                                        ¨ G




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         Column 1: Codebtor                                                                                       Column 2: Creditor

            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

2.247   Prospect Rockville                                                                                       MPT OF WATERBURY      þ D
        Hospital, Inc.                                                                                           PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.248   Prospect Rockville                                                                                       MPT TRS LENDER PMH,   þ D
        Hospital, Inc.                                                                                           LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



2.249   Prospect Waterbury                                                                                       MPT TRS LENDER PMH,   þ D
        Ambulatory Surgery, LLC                                                                                  LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



2.250   Prospect Waterbury Home                                                                                  MPT TRS LENDER PMH,   þ D
        Health, Inc.                                                                                             LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



2.251   Prospect Waterbury, Inc.                                                                                 MPT OF BELLFLOWER     þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.252   Prospect Waterbury, Inc.                                                                                 MPT OF CULVER CITY    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.253   Prospect Waterbury, Inc.                                                                                 MPT OF HOLLYWOOD      þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.254   Prospect Waterbury, Inc.                                                                                 MPT OF LOS ANGELES    þ D
                                                                                                                 PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G




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            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.255   Prospect Waterbury, Inc.                                                                                 MPT OF MANCHESTER      þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.256   Prospect Waterbury, Inc.                                                                                 MPT OF NORWALK PMH,    þ D
                                                                                                                 L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.257   Prospect Waterbury, Inc.                                                                                 MPT OF RIDLEY PARK     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.258   Prospect Waterbury, Inc.                                                                                 MPT OF ROCKVILLE       þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.259   Prospect Waterbury, Inc.                                                                                 MPT OF SPRINGFIELD     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.260   Prospect Waterbury, Inc.                                                                                 MPT OF UPLAND PMH,     þ D
                                                                                                                 LLC                    ¨ E/F
                                                                                                                                        ¨ G



2.261   Prospect Waterbury, Inc.                                                                                 MPT OF UPPER DARBY     þ D
                                                                                                                 PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.262   Prospect Waterbury, Inc.                                                                                 MPT OF VAN NUYS PMH,   þ D
                                                                                                                 L.P.                   ¨ E/F
                                                                                                                                        ¨ G




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            Name                      Mailing address                                                               Name               Check all schedules
                                                                                                                                       that apply:

2.263   Prospect Waterbury, Inc.                                                                                 MPT OF WATERBURY      þ D
                                                                                                                 PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.264   Prospect Waterbury, Inc.                                                                                 MPT TRS LENDER PMH,   þ D
                                                                                                                 LLC, AS COLLATERAL    ¨ E/F
                                                                                                                 AGENT
                                                                                                                                       ¨ G



2.265   Southern California                                                                                      MPT OF BELLFLOWER     þ D
        Healthcare System, Inc.                                                                                  PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.266   Southern California                                                                                      MPT OF CULVER CITY    þ D
        Healthcare System, Inc.                                                                                  PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.267   Southern California                                                                                      MPT OF HOLLYWOOD      þ D
        Healthcare System, Inc.                                                                                  PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.268   Southern California                                                                                      MPT OF LOS ANGELES    þ D
        Healthcare System, Inc.                                                                                  PMH, L.P.             ¨ E/F
                                                                                                                                       ¨ G



2.269   Southern California                                                                                      MPT OF MANCHESTER     þ D
        Healthcare System, Inc.                                                                                  PMH, LLC              ¨ E/F
                                                                                                                                       ¨ G



2.270   Southern California                                                                                      MPT OF NORWALK PMH,   þ D
        Healthcare System, Inc.                                                                                  L.P.                  ¨ E/F
                                                                                                                                       ¨ G




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            Name                      Mailing address                                                               Name                Check all schedules
                                                                                                                                        that apply:

2.271   Southern California                                                                                      MPT OF RIDLEY PARK     þ D
        Healthcare System, Inc.                                                                                  PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.272   Southern California                                                                                      MPT OF ROCKVILLE       þ D
        Healthcare System, Inc.                                                                                  PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.273   Southern California                                                                                      MPT OF SPRINGFIELD     þ D
        Healthcare System, Inc.                                                                                  PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.274   Southern California                                                                                      MPT OF UPLAND PMH,     þ D
        Healthcare System, Inc.                                                                                  LLC                    ¨ E/F
                                                                                                                                        ¨ G



2.275   Southern California                                                                                      MPT OF UPPER DARBY     þ D
        Healthcare System, Inc.                                                                                  PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.276   Southern California                                                                                      MPT OF VAN NUYS PMH,   þ D
        Healthcare System, Inc.                                                                                  L.P.                   ¨ E/F
                                                                                                                                        ¨ G



2.277   Southern California                                                                                      MPT OF WATERBURY       þ D
        Healthcare System, Inc.                                                                                  PMH, LLC               ¨ E/F
                                                                                                                                        ¨ G



2.278   Southern California                                                                                      MPT TRS LENDER PMH,    þ D
        Healthcare System, Inc.                                                                                  LLC, AS COLLATERAL     ¨ E/F
                                                                                                                 AGENT
                                                                                                                                        ¨ G




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                                                                                                                                       that apply:

2.279                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



2.280                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



2.281                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



2.282                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



2.283                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



2.284                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



2.285                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G



2.286                                                                                                                                  ¨ D
                                                                                                                                       ¨ E/F
                                                                                                                                       ¨ G




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   Debtor name PHS Holdings, LLC


   United States Bankruptcy Court for the: Northern District of Texas, Dallas Division

   Case number (If known) 25-80015 (SGJ)




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                   12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

           Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
        another individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

        þ Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
        þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        þ Schedule H: Codebtors (Official Form 206H)
        þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ¨ Amended Schedule
        ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
        ¨ Other document that requires a declaration




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on 3/13/2025                                          X /s/ Paul Rundell
                       MM / DD / YYYY                                     Signature of individual signing on behalf of debtor



                                                                          Paul Rundell
                                                                          Printed name

                                                                          Chief Restructuring Officer
                                                                          Position or relationship to debtor




   Official Form 202                             Declaration Under Penalty of Perjury for Non-Individual Debtors
